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10                           UNITED STATES DISTRICT COURT
11                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION
12

13   IN RE: BABY FOOD PRODUCTS                            Case No. 24-MD-3101-JSC
     LIABILITY LITIGATION
14                                                        MDL 3101
     This Document Relates To:
15
                                                          Hon. Jacqueline Scott Corley
16   LEAH J. DURIS, on Behalf of R.D, A
     MINOR,                                               COMPLAINT AND JURY
17                                                        DEMAND
                  Plaintiff,
18        v.                                              Case no.: 3:25-cv-1039
19
     Beech-Nut Nutrition Company, Campbell Soup
20   Company, Danone S.A., Gerber Products
     Company, Hain Celestial Group, Inc., Hero
21   A.G., Neptune Wellness Solutions, Nestlé
     S.A., Nurture, LLC, Plum, PBC, Sprout Foods,
22   Inc., Sun-Maid Growers of California, and
23   DOES 1 through 10 inclusive

24                Defendants.

25

26
27

28
                                                    -1-
                                      COMPLAINT AND JURY DEMAND
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 1                                           INTRODUCTION

 2          1.      Defendants knowingly sold baby food products contaminated with lead, arsenic,

 3   mercury, cadmium, and aluminum (collectively “Toxic Heavy Metals”). They did this knowing

 4   that Toxic Heavy Metals, when consumed by babies, are known to cause brain damage and

 5   neurodevelopmental harm. Thus, to the extent Defendants sold baby food that contained

 6   detectible amounts of Toxic Heavy Metals (collectively “Contaminated Baby Food”) those

 7   products were defective in their manufacture, design, and labeling. Babies are the most

 8   vulnerable segment of the population, and they rely on that food for healthy neurodevelopment.

 9   Defendants justify this callous disregard for the welfare of babies because, until recently, there

10   were no regulations governing the presence of Toxic Heavy Metals in baby foods—and,

11   because there were no regulations, they were free to do as they pleased.

12          2.      This lawsuit aims to stop Defendants from poisoning infants with Contaminated

13   Baby Food. Baby food should be safe. It should not be contaminated with Toxic Heavy

14   Metals. Period. By sourcing ingredients from farms that have non-detectable levels of heavy

15   metal (using sufficiently sensitive testing), avoiding certain ingredients all together, and

16   systematically testing and screening finished products for Toxic Heavy Metals before the foods

17   are released for consumption, these Defendants would be able to provide baby food products

18   free of detectable levels of Toxic Heavy Metals. And, if some levels are truly unavoidable, or if

19   Defendants believe the identified levels are safe, then, at the very least, Defendants must warn

20   parents/guardians/caregivers about the presence of these Toxic Heavy Metals so they can make
21   informed decisions about what they are feeding their baby. Anything short of proper design,

22   manufacture, and warning, is unacceptable—especially for an industry that touts itself as

23   providing the most important sources of neurodevelopment for the most vulnerable population

24   of society.

25          3.      Plaintiff, here, lives with brain injuries and neurodevelopmental harm caused by

26   exposure to the Defendants’ Contaminated Baby Food, which has manifested in diagnoses of
27   autism spectrum disorder (“ASD”) and attention deficit hyperactivity disorder (“ADHD”).

28   Plaintiff’s parents were never warned that the Defendants’ food contained Toxic Heavy Metals
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                                          COMPLAINT AND JURY DEMAND
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 1   and, thus, were never able to make an informed decision about whether to feed their babies

 2   Defendants Contaminated Baby Foods. The consequences are stark—there is an unprecedented

 3   epidemic of ASD and ADHD spreading throughout the American population, driven, in part, by

 4   the systematic neurodevelopmental poisoning of infants from these Defendants’ Contaminated

 5   Baby Foods.

 6           4.     This case seeks to hold the Defendants accountable for their reprehensible

 7   conduct by compensating Plaintiff who was harmed by the Defendants’ Contaminated Baby

 8   Foods, and ensure each Defendant is punished to deter such conduct in the future.

 9                                              PARTIES

10 I.        Plaintiffs

11           5.     Plaintiff is a child who lives with brain injuries and neurodevelopmental harm

12   caused by exposure to the Defendants’ Contaminated Baby Food, which has manifested in a

13   diagnosis of ASD and ADHD.

14           6.     Plaintiff consumed baby foods manufactured and/or sold by Beech-Nut Nutrition

15   Company, Gerber Products Company, Hain Celestial Group, Inc., Nurture, Inc., Plum, PBC,

16   and Sprout Foods, Inc.

17           7.     The baby foods manufactured by Defendant Gerber and consumed by Plaintiff

18   were manufactured at the direction of, and/or under the control of, and/or according to the

19   specification of, and/or with input from the parent company, Nestlé S.A.

20           8.     The baby foods manufactured by Defendant Beech-Nut Nutrition Company and
21   consumed by Plaintiff were manufactured at the direction of, and/or under the control of, and/or

22   according to the specification of, and/or with input from the parent company, Hero A.G.

23           9.     The baby foods manufactured by Defendant Nurture and consumed by Plaintiff

24   were manufactured at the direction of, and/or under the control of, and/or according to the

25   specification of, and/or with input from the parent company, Danone SA.

26           10.    The baby foods manufactured by Defendant Plum and consumed by Plaintiff
27   were manufactured at the direction of, and/or under the control of, and/or according to the

28   specification of, and/or with input from the parent company, Campbell Soup Company, and Sun
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 1   maid Sun-Maid Growers of California.

 2          11.     The baby foods manufactured by Defendant Sprout Foods, Inc. and consumed by

 3   Plaintiff were manufactured at the direction of, and/or under the control of, and/or according to

 4   the specification of, and/or with input from the parent company, Neptune Wellness Solutions.

 5          12.     Plaintiff alleges that as a direct and proximate result of Plaintiff’s exposure to

 6   Toxic Heavy Metals from consumption of Defendants’ Contaminated Baby Foods, they

 7   suffered significant harm, conscious pain and suffering, physical injury and bodily impairment

 8   including, but not limited to, brain injury manifesting as the neurodevelopmental disorder ASD

 9   and ADHD, other permanent physical deficits, permanent bodily impairment, and other

10   sequelae. Plaintiff’s injuries required medical intervention to address the adverse neurological

11   effects and damage caused by exposure to Toxic Heavy Metals in Defendants’ Contaminated

12   Baby Foods. Additionally, Plaintiff has suffered severe mental and physical pain, including but

13   not limited to, pain, mental suffering, loss of enjoyment of life, disfigurement, physical

14   impairment, inconvenience, grief, anxiety, humiliation, and emotional distress and has and will

15   sustain such injuries, along with economic loss due to medical expenses and living-related

16   expenses as a result of lifestyle changes, into the future, as determined by the Trier of Fact.

17          13.     The product warnings for the Contaminated Baby Foods in effect during the time

18   period Plaintiff consumed the Contaminated Baby Foods were non-existent, vague, incomplete

19   and/or otherwise inadequate, both substantively and graphically, to alert consumers to the

20   presence of Toxic Heavy Metals in the Contaminated Baby Foods and/or the potentially severe
21   health risks associated with Toxic Heavy Metal exposure in babies. Thus, each Defendant did

22   not provide adequate warnings to consumers including Plaintiff, their parents and the general

23   public about the presence of Toxic Heavy Metals in the Contaminated Baby Foods consumed

24   by Plaintiffs and the potential risk of the serious adverse events associated with Toxic Heavy

25   Metal exposure in infancy.

26          14.     Had Plaintiff or their parents been adequately warned by the Defendants of the
27   potential for exposure to Toxic Heavy Metals from consumption of Defendants’ Baby Foods,

28   and/or the potential for such exposure to result in harm, Plaintiff, or their parents would not
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 1   have purchased, used and/or consumed Contaminated Baby Foods or would have taken other

 2   steps to potentially mitigate the harm caused by exposing a baby to Toxic Heavy Metals.

 3   II.    Defendants

 4          15.     The following are the Defendants listed in this Complaint. In alphabetical order:

 5                  1. Beech-Nut Nutrition Company (“Beech-Nut”)

 6                  2. Campbell Soup Company (“Campbell”)

 7                  3. Danone S.A. (“Danone”)

 8                  4. Gerber Products Company (“Gerber”)

 9                  5. Hain Celestial Group, Inc. (“Hain”)

10                  6. Hero A.G. (“Hero Group”)

11                  7. Neptune Wellness Solutions (“Neptune”)

12                  8. Nestlé S.A. (“Nestlé”)

13                  9. Nurture, LLC (“Nurture”)

14                  10. Plum, PBC (“Plum”)

15                  11. Sprout Foods, Inc. (“Sprout”)

16                  12. Sun-Maid Growers of California (“Sun-Maid”)

17          16.     Defendant Beech-Nut Nutrition Company (“Beech-Nut”) is a citizen of

18   Delaware and New York with its principal place of business located at 1 Nutritious Pl.,

19   Amsterdam, New York 12010. Beech-Nut is wholly owned, controlled, and operated by the

20   Hero Group, which considers Beech-Nut to be one of its brands. In the Hero Group’s 2023
21   annual report, it states “Hero markets baby food in the US and Canada under the brand names

22   Beech[-]Nut and Baby Gourmet.” Beech-Nut branded baby foods aim at infants 4+ months up

23   to 12+ months and include a variety of cereals, “jars,” and “pouches” for these age groups. At

24   all relevant times, Beech-Nut has conducted business and derived substantial revenue from its

25   manufacturing, advertising, distributing, selling, and marketing of Baby Foods within this

26   judicial district and throughout the United States.
27          17.     Defendant Hero A.G., aka Hero Group (“Hero Group”) is a citizen of

28   Switzerland, with its principal place of business located at Karl Roth-Strasse 8, 5600, Lenzburg,
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 1   Switzerland. Hero Group sells baby food through its subsidiary, Beech-Nut, which it controls.

 2   For example, Hero Group made executive-level decisions for Beech-Nut concerning the

 3   acquisition of testing machines need to test baby foods for heavy metal. Hero Group, thus, has

 4   been directly involved in the tortious conduct in the United States and its various states that give

 5   rise to these lawsuits. At all relevant times, Hero Group conducted business and derived

 6   substantial revenue through Beech-Nut by manufacturing, advertising, distributing, selling, and

 7   marketing baby foods within the judicial districts involved in this litigation.

 8             18.   The relationship between Beech-Nut and Hero Group was formed in 2005. Prior

 9   to that, starting in 1998, Beech-Nut was owned and operated by the Milnot Holding

10   Corporation, and prior to that, starting in 1989, Beech-Nut was owned and operated by Ralston

11   Purina, and prior that, starting in 1979, Beech-Nut was owned and operated by Defendant

12   Nestlé.

13             19.   For the purposes of this Complaint, allegations related to Beech-Nut apply

14   equally to Hero Group, as each Defendant exercised authority and control over the sale,

15   manufacture, and distribution of Beech-Nut’s Contaminated Baby Foods at issue in this MDL.

16             20.   Defendant Gerber Products Company (“Gerber”) is a citizen of Michigan and

17   Virginia with its principal place of business located at 1812 N. Moore Street, Arlington,

18   Virginia 22209. Gerber sells Baby Foods under the brand name Gerber. Gerber organizes its

19   products into broad categories of “formula,” “baby cereal,” “baby food,” “snacks,” “meals &

20   sides,” “beverages,” and “organic.” At all relevant times, Gerber has conducted business and
21   derived substantial revenue from its manufacturing, labeling, advertising, distributing, selling,

22   and marketing of baby foods.

23             21.   Defendant Nestlé is a citizen of Switzerland, with its principal place of business

24   located at Avenue Nestlé 55, 1800 Vevey, Switzerland. Nestlé is a global food and beverage

25   company with more than 2,000 brands. Nestlé sells baby foods under its subsidiary, Gerber.

26   Employees and scientists at Nestlé trained and set safety standards at Gerber. Indeed, in
27   discovery ongoing in other litigation, Gerber specifically identified scientists at Nestlé to testify

28   on behalf of Gerber regarding the safety of Gerber’s baby food products. Nestlé, thus, has been
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 1   directly involved in the tortious conduct in the United States and its various states that gives rise

 2   to these lawsuits. At all relevant times, Nestlé conducted business and derived substantial

 3   revenue through Gerber by manufacturing, advertising, distributing, selling, and marketing baby

 4   foods within the judicial districts involved in this litigation.

 5           22.     The relationship between Gerber and Nestlé was formed in 2007. Prior to that,

 6   starting in 1994, Gerber was owned and operated by Novartis, one of the largest pharmaceutical

 7   companies in the world. However, in 2007, Gerber was sold to Nestlé for $5.5 billion.

 8           23.     For the purposes of this Complaint, unless specifically stated otherwise, Nestlé

 9   shall be referred to as “Nestlé.” Further, allegations related to Gerber apply equally to Nestlé, as

10   each Defendant exercised authority and control over the sale, manufacture, and distribution of

11   Gerber’s Contaminated Baby Foods at issue in this MDL.

12           24.     The Hain Celestial Group, Inc. (“Hain”) is a citizen of Delaware and New York

13   with its principal place of business located at 1111 Marcus Ave., Lake Success, New York

14   11042. Hain sells baby foods under the brand name Earth’s Best Organics. Hain offers infant

15   and baby formula and foods as well as toddler foods covering products from “organic infant

16   cereal” to “organic snacks for toddlers and kids on the go.” At all relevant times, Hain has

17   conducted business and derived substantial revenue from its manufacturing, advertising,

18   distributing, selling, and marketing of Baby Foods within this judicial district and throughout

19   the United States.

20           25.     Defendant Nurture, LLC (“Nurture”) is a citizen of Delaware and New York
21   with its principal place of business located at 40 Fulton St., 17th Floor, New York, New York

22   10038-1850. Upon information and belief, Danone S.A. is the only member of Nurture. Prior

23   to 2022, Nurture was incorporated under Delaware law as Nurture, Inc., of which 100% of all

24   Nurture stock was owned by Danone S.A. Nurture does business as (i.e., dba) “Happy Family

25   Organics” and sells baby foods under the brands Happy Baby, Happy Tot, and Happy Family.

26   Nurture classifies its Happy Baby range of products according to three categories: “baby,” “tot,”
27   and “mama.” The “baby” category is comprised of foods, including “starting solids,” intended

28   for age groups 0-7+ months, the “tot” category covers 12+ months, and “mama” includes infant
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 1   formulas for newborn babies. At all relevant times, Nurture has conducted business and derived

 2   substantial revenue from its manufacturing, advertising, distributing, selling, and marketing of

 3   baby foods within this judicial district and throughout the United States.

 4           26.     Defendant Danone S.A. (“Danone”) is a citizen of France, with its principal

 5   place of business located at 17 Boulevard Haussmann, 75009 Paris, France. Danone is a global

 6   food and beverage company built on four businesses: Essential Dairy and Plant-Based Products,

 7   Waters, Early Life Nutrition, and Medical Nutrition.         Danone sells products in over 120

 8   markets. As of 2023, Danone generated sales of 27.6 billion euros, with 6.9 billion in sales in

 9   North America and 8.5 billion in sales attributable to Specialized Nutrition, which includes

10   Early Life Nutrition. Danone sells baby food through its subsidiary, Nurture. Indeed, many of

11   the scientists and researchers that monitored the safety of Toxic Heavy Metals in baby food

12   were directly employed by Danone or were directly controlled and trained by Danone agents

13   and employees. Danone set standards, made executive-level business decisions, and exercised

14   control over Nurture’s baby food selling in the United States. Danone, thus, has been directly

15   involved in the tortious conduct in the United States and its various states that gives rise to these

16   lawsuits. At all relevant times, Danone conducted business and derived substantial revenue

17   through Nurture by manufacturing, advertising, distributing, selling, and marketing baby foods

18   within the judicial districts involved in this litigation.

19           27.     Nurture was founded in 2003 by Shazi Visram, started selling baby food

20   products in 2006, and was acquired by Danone S.A. in May 2013.
21           28.     For the purposes of this Complaint, allegations related to Nurture or Happy

22   Family/Happy Baby apply equally to Danone, as each Defendant exercised authority and

23   control over the sale, manufacture, and distribution of Nurture’s Contaminated Baby Foods at

24   issue in this MDL.

25           29.     Defendant Plum, PBC (“Plum”) is a citizen of Delaware and California with its

26   principal place of business located at 6795 N. Palm Ave., 2nd Floor, Fresno, California 93704.
27   Plum sells Baby Foods under the brand name “Plum Organics” and has done so since 2007.

28   Starting in 2013, and until May 3, 2021, Plum was directly controlled and owned by Defendant
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 1   Campbell. Plum’s products are divided into groups according to the targeted infant or toddler

 2   age and/or type of food product. For example, there are five groups designated for the youngest

 3   infants: Stage 1 (4+ months old), Stage 2 (6+ months old), Stage 3 (6+ months old), “Super

 4   Puffs,” and “Little Teethers.” At all relevant times, Plum has conducted business and derived

 5   substantial revenue from its manufacturing, advertising, distributing, selling, and marketing of

 6   baby foods within this judicial district and throughout the United States.

 7          30.     Defendant Campbell Soup Company (“Campbell”) is a Citizen of New Jersey

 8   with its principal place of business located at One Campbell Pl., Camden, New Jersey 08103.

 9   Campbell sells food and beverages and was the parent company of Plum until May 3, 2021,

10   wherein Campbell sold Plum to Defendant Sun-Maid, a few months after the first heavy metal

11   lawsuits were filed. Campbell sold baby food under the brand name Plum Organics through

12   Plum. Indeed, many of the scientists and researchers that monitored the safety of Toxic Heavy

13   Metals in Plum’s baby foods were directly employed by Campbell or were directly controlled

14   and trained by Campbell agents and employees. For example, it was Campbell’s attorneys that

15   responded to Congressional inquiries about heavy metals in Plum baby foods in 2019.

16   Campbell exercised control over Plum’s baby food selling in the United States until May 3,

17   2021. At all relevant times, Campbell conducted business and derived substantial revenues

18   from its manufacturing, advertising, distributing, selling, and marketing of baby foods within

19   this judicial district and throughout the United States.

20          31.     Defendant Sun-Maid Growers of California (“Sun-Maid”) is a citizen of
21   California with its principal place of business located at 6795 N. Palm Ave., Fresno, California

22   93711. Sun-Maid sold baby food through Plum, starting on May 3, 2021. Sun-Maid acquired

23   Plum from Campbell on May 3, 2021. Sun-Maid has since been directly involved with all

24   aspects of the safety and testing of Plum’s baby food products. For example, metal testing is

25   paid for directly and sent directly to Sun-Maid’s scientists and executives, not directly to Plum.

26   All major executive functions related to Plum’s operation were specifically transitioned from
27   Campbell to Sun-Maid. Like Campbell, Sun-Maid has exercised and continues to exercise

28   direct control over the manufacture, sale, and distribution of all Plum baby foods since May 3,
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 1   2021. At all relevant times, Sun-Maid conducted business and derived substantial revenue from

 2   its manufacturing, advertising, distributing, selling, and marketing of Baby Foods within this

 3   judicial district.

 4           32.      For the purposes of this Complaint, allegations related to Plum between 2013

 5   and May 3, 2021 apply equally to Campbell, unless otherwise specified, and allegations related

 6   to Plum after May 3, 2021 apply equally to Sun-Maid, as each Defendant exercised authority

 7   and control over the sale, manufacture, and distribution of Plum’s Contaminated Baby Foods at

 8   issue in this MDL.

 9           33.      Defendant Sprout Foods, Inc. (“Sprout”) is a citizen of Delaware and New Jersey

10   with its principal place of business located at 50 Chestnut Ridge Rd, Montvale, New Jersey

11   07645. Sprout sells Baby Foods under the brand name Sprout Organic Foods. Sprout organizes

12   its Baby Foods selection according to three categories: Stage 2 (6 months+); Stage 3 (8

13   months+); and Toddler. Sprout was founded in 2008 and was sold to Defendant Neptune

14   Wellness Solutions in February 2021.        Since Neptune acquired Sprout, it has exercised

15   managerial control over the company, and thus has exercised direct control over the sale of

16   Sprout baby food since that time. At all relevant times, Sprout has conducted business and

17   derived substantial revenue from its manufacturing, advertising, distributing, selling, and

18   marketing of Baby Foods within the United States.

19           34.      Defendant Neptune Wellness Solutions, Inc. (“Neptune”) is a citizen of Florida

20   and Canada, with its primary place of business in the United States located at 1044 N. US
21   Highway 1 - Suite 101, Jupiter, Florida 33477. Neptune has sold baby food through its

22   controlled subsidiary, Sprout, since February 2021.       Neptune has exercised control over

23   Sprout’s baby food selling, and has been directly involved with all aspects of food safety testing

24   and specification setting for Sprout’s baby foods. Neptune also appears to have dictated all

25   public relations and public facing actions by Sprout since the lawsuits related to Contaminated

26   Baby Foods were filed. Neptune, thus, has been directly involved in the tortious conduct in the
27   United States and its various states that gives rise to these lawsuits. At all relevant times,

28   Neptune conducted business and derived substantial revenues from its manufacturing,
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 1   advertising, distributing, selling, and marketing of baby foods within this judicial district and

 2   throughout the United States.

 3          35.     For the purposes of this Complaint, allegations related to Sprout after February

 4   2021 apply equally to Neptune, unless otherwise specified, as each Defendant exercised

 5   authority and control over the sale, manufacture, and distribution of Sprout’s Contaminated

 6   Baby Foods at issue in this MDL.

 7                                     JURISDICTION AND VENUE

 8          36.     Plaintiff(s) file this Complaint pursuant to CMO No. 5, and are to be bound by

 9   the rights, protections, and privileges, and obligations of that CMO and other Order of the

10   Court. Further, in accordance with CMO No. 5, Plaintiff(s) hereby designate the United States

11   District Court for the Southern District of Florida as Plaintiff’s designated venue (“Original

12   Venue”). Plaintiff makes this selection based upon one (or more) of the following factors

13   (check the appropriate box(es))

14          _ X _ Plaintiff currently resides in Labelle, Florida.

15          _ X _ Plaintiff purchased and consumed Defendant(s) products in Florida.

16          ____The Original Venue is a judicial district in which Defendant _______ resides, and

17          all Defendants are residents of the State in which the district is located (28 U.S.C.

18          1391(b)(1)).

19          _X_ The Original Venue is a judicial district in which a substantial part of the events or

20          omissions giving rise to the claim occurred, specially (28 U.S.C. 1391 (b)(2)):
21          _____There is no district in which an action may otherwise be brought under 28 U.S.C.

22          1391, and the Original Venue is a judicial district in which Defendant _____ is subject

23          to the Court’s personal jurisdiction with respect to this action (28 U.S.C. 1391 (b)(3)).

24          _____ Other reason (please explain): _______________________________________

25          37.     As an MDL transferee court, this Court has subject matter and personal

26   jurisdiction to the same extent as the respective transferee courts do. In general, federal courts
27   have subject matter jurisdiction over this action under 28 U.S.C. § 1332(d) because Plaintiffs

28   are citizens of states other than states where Defendants are citizens. In addition, Plaintiff seeks
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 1   damages in excess of $75,000, exclusive of interest and costs.

 2           38.      This Court has personal jurisdiction over Defendants because their significant

 3   contacts related to this litigation in each State make personal jurisdiction proper over any of

 4   them.

 5           39.      In particular, this Court has personal jurisdiction over Defendants for cases filed

 6   in this District insofar as Defendants are authorized and licensed to conduct business in the

 7   State of California, maintain and carry on systematic and continuous contacts in this judicial

 8   district, regularly transact business within this judicial district, and regularly avail themselves of

 9   the benefits of this judicial district.

10           40.      Additionally, Defendants caused tortious injury by acts and omissions in this

11   judicial district and caused tortious injury in this district by acts and omissions outside this

12   district while regularly doing and soliciting business, engaging in a persistent course of conduct,

13   and deriving substantial revenue from goods used or consumed and services rendered in this

14   judicial district.

15           41.      Danone, Nestlé, Hero Group, and Neptune are subject to personal jurisdiction in

16   the relevant judicial districts insofar as they are authorized and licensed to conduct business in

17   their respective states. Additionally, these Defendants maintain and carry on systematic and

18   continuous contacts in these judicial districts, regularly transact business within these districts,

19   and regularly avail themselves of the benefits of these districts. These Defendants caused

20   tortious injury by acts and omissions in these judicial districts and by acts and omissions outside
21   these districts while regularly doing and soliciting business, engaging in a persistent course of

22   conduct, and deriving substantial revenue from goods used or consumed and services rendered

23   in these districts.

24                                       FACTUAL ALLEGATIONS

25   I.      Rising Concerns Regarding the Presence of Toxic Heavy Metals in Baby Foods

26           42.      In October 2019, an alliance of nonprofit organizations, scientists and donors
27   named “Happy Babies Bright Futures” (“HBBF”), dedicated to designing and implementing

28   “outcomes-based programs to measurably reduce babies’ exposures to toxic chemicals,”
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 1   published a report investigating the presence of Toxic Heavy Metals in baby foods. The HBBF

 2   Report tested 168 different baby foods sold on the U.S. market and concluded that “[n]inety-

 3   five percent of baby foods tested were contaminated with one or more of four toxic heavy

 4   metals—arsenic, lead, cadmium and mercury. All but nine of 168 baby foods contained at least

 5   one metal; most contained more than one.” Specifically, the HBBF report identified “puffs and

 6   other snacks made with rice flour,” “[t]eething biscuits and rice rusks,” “infant rice cereal,”

 7   “apple, pear, grape and other fruit juices,” and “carrots and sweet potatoes” manufactured by

 8   the Defendants as particularly high in Toxic Heavy Metals.

 9          43.     The results of the HBBF report were consistent with that of the U.S. Food and

10   Drug Administration (“FDA”) which had, in 2017, detected one or more of the four Toxic

11   Heavy Metals in 33 of 39 types of baby food tested. However, the HBBF reported that “[f]or

12   88 percent of baby foods tested by HBBF—148 of 168 baby foods—FDA has failed to set

13   enforceable limits or issue guidance on maximum safe amounts.” The HBBF’s findings were

14   by no means an outlier. Eight months prior to publication of the HBBF report, a study

15   conducted by scientists at the University of Miami and the Clean Label Project “examined

16   lead…concentrations in a large convenience sample of US baby foods.” The study detected

17   lead in 37% of samples.

18          44.     Moreover, earlier in 2017, HBBF commissioned a study to evaluate the presence

19   of arsenic in infant rice cereal products sold in the U.S., and the potential risks to children’s

20   neurodevelopment posed by contamination levels. The findings were concerning. The authors
21   concluded that “exposures to arsenic from infant rice cereal approach or exceed existing health-

22   based limits for arsenic levels…leaving little room for additional exposures from other dietary

23   sources, such as snacks, apple juice, and drinking water…Our analyses of arsenic exposures

24   from infant rice cereal during the first year of life suggest that these exposures are not

25   insignificant, and may place infants at risk for adverse health effects.”

26   II.    Congressional Investigation Finds Substantial Presence of Heavy Metals in Baby
            Foods Manufactured and/or Sold by Defendants, Sparking National Outrage
27

28          45.     On February 4, 2021, and September 29, 2021, respectively, the U.S. House of
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 1   Representatives’ Subcommittee on Economic and Consumer Policy, Committee on Oversight

 2   and Reform, published two reports detailing its findings that Toxic Heavy Metals—including

 3   lead, arsenic, mercury, and cadmium—were present in “significant levels” in numerous

 4   commercial Baby Food Products. Four companies—Hain, Gerber (Nestlé), Nurture (Danone),

 5   and Beech-Nut—produced internal testing policies, test results for ingredients and finished

 6   products, and documentation about what the companies did with ingredients and/or finished

 7   products that exceeded their internal testing limits. Three companies—Plum (Campbell),

 8   Walmart, and Sprout—initially refused to cooperate.

 9          46.     Congress reported that the data submitted by the companies unequivocally

10   revealed that a substantial number of Defendants’ finished products and/or ingredients used to

11   manufacture the Baby Foods are tainted with Toxic Heavy Metals, namely lead, arsenic,

12   mercury, and cadmium. And, where the Defendants did set internal limits for the amount of

13   metals they allowed in their foods, Defendants routinely flouted their own limits and sold foods

14   that consistently tested above their limits. Congress found the following:

15          47.     Beech-Nut. Beech-Nut, along with Hero Group, used ingredients after they

16   tested as high as 913.4 ppb arsenic. Beech-Nut routinely used high-arsenic additives that tested

17   over 300 ppb arsenic to address product characteristics such as “crumb softness.” On June 8,

18   2021, four months following the Congressional findings, Beech-Nut issued a voluntary recall of

19   its infant single grain rice cereal and exited the rice cereal market completely. In its recall,

20   Beech-Nut confirmed that its products exceed regulatory arsenic limits. And, Beech-Nut used
21   ingredients containing as much as 886.9 ppb lead, as well as 483 products that contained over 5

22   ppb lead, 89 that contained over 15 ppb lead, and 57 that contained over 20 ppb lead. In its

23   follow up Report in September 2021 Congress specifically focused on Defendants Beech-Nut

24   and Gerber’s infant rice cereals. Congress noted that Beech-Nut rice cereal tested up to 125 ppb

25   inorganic arsenic and averaged 85.47 ppb inorganic arsenic. Beech-Nut’s practice of testing

26   ingredients, rather than finished products, for toxic heavy metals appears to have contributed to
27   its failure to detect the dangerous inorganic arsenic levels in its recalled products. Lastly,

28   Beech-Nut does not even test for mercury in baby food.
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 1          48.     Gerber. Gerber along with Nestlé used high-arsenic ingredients, using 67

 2   batches of rice flour that had tested over 90 ppb inorganic arsenic. Nestlé and Gerber used

 3   ingredients that tested as high as 48 ppb lead; and used many ingredients containing over 20

 4   ppb lead. Nestlé and Gerber rarely test for mercury in their baby foods. In the September 2021

 5   follow-up Congressional report, it was revealed that Nestlé and Gerber’s rice cereal tested up to

 6   116 ppb inorganic arsenic, and their average rice cereal product contained 87.43 ppb inorganic

 7   arsenic, which is even higher than the amount contained in Beech-Nut’s average rice cereal

 8   product. While Beech-Nut recalled some of its products and completely discontinued sales of

 9   its rice cereal, Nestlé and Gerber have taken no such actions to protect children.

10          49.     Hain (Earth’s Best Organic).           Hain sold finished baby food products

11   containing as much as 129 ppb inorganic arsenic. Hain typically only tested its ingredients, not

12   finished products. Documents show that Hain used ingredients testing as high as 309 ppb

13   arsenic.   Hain used ingredients containing as much as 352 ppb lead.            Hain used many

14   ingredients with high lead content, including 88 that tested over 20 ppb lead and six that tested

15   over 200 ppb lead. And, Hain does not even test for mercury in its baby food. However,

16   independent testing by HBBF of Hain’s Baby Foods confirm that Hain’s products contain as

17   much as 2.4 ppb of mercury.

18          50.     Nurture (HappyBABY). Nurture and its parent company, Danone, sold baby

19   foods after tests showed they contained as much as 180 ppb inorganic arsenic. Over 25% of the

20   products Danone and Nurture tested before sale contained over 100 ppb inorganic arsenic.
21   Danone and Nurture’s testing shows that the typical baby food product it sold contained 60 ppb

22   inorganic arsenic. Danone and Nurture sold finished baby food products that tested as high as

23   641 ppb lead. Almost 20% of the finished baby food products that Danone and Nurture tested

24   contained over 10 ppb lead. Moreover, Danone and Nurture sold finished baby food products

25   containing as much as 10 ppb mercury.

26          51.     Plum. Plum, along with Campbell, refused to cooperate with the Congressional
27   investigation. Instead of producing any substantive information, Campbell provided Congress

28   with a self-serving spreadsheet declaring that every one of its products sold through Plum
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 1   “meets criteria”, while declining to state what those criteria were. Disturbingly, Campbell

 2   admitted that, for mercury (a powerful neurotoxin), Campbell and Plum have no criterion

 3   whatsoever, stating: “No specific threshold established because no high-risk ingredients are

 4   used.” However, despite Campbell and Plum having no mercury threshold, Campbell and Plum

 5   still marked every food as “meets criteria” for mercury. Congress noted that “[t]his misleading

 6   framing—of meeting criteria that do not exist—raises questions about what [Plum’s] other

 7   thresholds actually are, and whether they exist.” This suspicion is confirmed by HBBF’s

 8   independent testing which confirms the presence of Toxic Heavy Metals in Campbell and Plum

 9   Baby Food, which found excess levels of lead, arsenic, and mercury in Campbell and Plum’s

10   Just Sweet Potato Organic Baby Foods; Just Peaches Organic Baby Food; Just Prune Organic

11   Baby Food; Pumpkin Banana Papaya Cardamom; Apple, Raisin & Quiona Organic Baby Food;

12   Little Teethers Organic Multigrain Teething Wafers-Banana with Pumpkin; and Mighty

13   Morning Bar-Blueberry Lemon-Tots. Furthermore, as discussed further below, based upon

14   information and belief, Plaintiffs submit that Campbell and Plum’s pattern and practice of

15   failing to test ingredients, willingly flouting their own internal standards, and selling products

16   notwithstanding internal acknowledgement of their high metal content, follows that of the other

17   Defendants discussed in this Complaint, and discovery here will further flesh out the extent of

18   Campbell and Plum’s culpable conduct.

19          52.     Sprout. Sprout initially refused to cooperate with the House Subcommittee’s

20   investigation, and as such the Subcommittee stated that Sprout’s failure to respond “raises
21   serious concerns about the presence of toxic heavy metals in its baby foods.”                The

22   Subcommittee noted that independent data from the HBBF Report confirmed that Sprout’s baby

23   foods are indeed tainted. For example, the HBBF Report observed that Sprout’s Organic

24   Quiona Puffs Baby Cereal Snack-Apple Kale contained 107 ppb total arsenic, 47 ppb inorganic

25   arsenic, 39.3 ppb lead, and 41.5 ppb cadmium.

26          53.     As outlined in the Subcommittee’s Addendum Report, Sprout eventually
27   provided a “handful of documents” to the Subcommittee, and the documents provided

28   “displayed a lax approach to testing for toxic heavy metals in its baby food.” Sprout relies on
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 1   its ingredients suppliers to test their ingredients for toxic heavy metals and only asks the

 2   suppliers to test once a year. Upon information and belief, despite its representations to the

 3   Subcommittee, Sprout did not require its raw ingredient suppliers to provide yearly heavy metal

 4   test results prior to the Subcommittee’s inquiry into the company. Sprout provided only 11

 5   toxic heavy metal test results to the Subcommittee stating that “[b]ecause Sprout requires

 6   annual testing for heavy metals for its ingredients, rather than by lot, Sprout is unable to provide

 7   testing information for each lot as requested.” The Subcommittee called this testing the “the

 8   most reckless among baby food sellers on the market.”

 9          54.     The metal concentrations discussed above and further below surpass the limits

10   allowed by U.S. regulatory agencies. There are no FDA final regulations governing the

11   presence of Toxic Heavy Metals in the majority of Baby Foods with the exception of 100 ppb

12   inorganic arsenic in infant rice cereal and proposed (not yet final) limits for lead in certain baby

13   food categories. To the extent such regulations exist, the quantities of Toxic Heavy Metals in

14   Defendants’ Baby Foods exceed any permissible FDA levels. To be sure, the FDA has set the

15   maximum contaminant levels (“MCL”) in bottled water at 10 ppb inorganic arsenic, 5 ppb lead,

16   and the EPA has capped the allowable level of mercury in drinking water at 2 ppb. However,

17   these limits were created in reference to adult exposure, not infants. Compared to these

18   thresholds, the test results of the Defendants’ baby foods and their ingredients are multiple folds

19   greater than the permitted metal levels. Moreover, compounding these troubling findings, the

20   Defendants set internal limits for the presence of Toxic Heavy Metals in their foods that were,
21   themselves, dangerously high and then routinely failed to abide by those inadequate standards,

22   as discussed below.

23          55.     As Congress observed, the Defendants have willfully sold—and continue to

24   sell—contaminated Baby Foods notwithstanding their full awareness of these unacceptably high

25   levels of Toxic Heavy Metals in their products.

26   III.   Defendants Engaged in a Pattern and Practice of Selling Contaminated Baby
            Foods and Failed to Reduce Metal Levels
27

28          56.     Several factors drive the Toxic Heavy Metal contamination of Defendants’ baby
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 1   foods, all of which are within Defendants’ control.

 2          57.     First, at various times, all Defendants sourced ingredients that contained

 3   elevated levels of Toxic Heavy Metals. These ingredients were then used to manufacture the

 4   baby foods consumed by Plaintiffs, thereby exposing Plaintiffs to Toxic Heavy Metals that

 5   cause brain damage and other neurodevelopmental harm. One way for Defendants to “deal”

 6   with this issue involved relegating any testing of Toxic Heavy Metals to suppliers and co-

 7   manufacturers, who were required to certify that Toxic Heavy Metals were below a certain

 8   threshold. Defendants would audit those results, discover that the reported certifications were

 9   false or inaccurate, and then take no action to stop the use of those ingredients or finished

10   products.

11          58.     Second, some Defendants implemented dangerously high internal limits

12   (“specifications” or “specs”) for the maximum level of Toxic Heavy Metals that Defendants

13   allowed in the baby foods. Such high limits—untethered to any consideration of the low levels

14   at which metals are capable of damaging babies’ brains—allowed Defendants to source and use

15   ingredients that contained elevated Toxic Heavy Metals to manufacture the baby foods

16   consumed by Plaintiffs. In the highly competitive and lucrative baby food market, using

17   contaminated ingredients allows each Defendant to retain greater market share.

18          59.     Third, some Defendants failed to implement any internal specifications for the

19   amount of Toxic Heavy Metals allowed in ingredients or finished baby foods. By simply not

20   looking at the issue, certain highly contaminated ingredients and finished products were allowed
21   to be used and sold to consumers. This would happen notwithstanding the Defendants’ specific

22   knowledge of the risk of Toxic Heavy Metals and their presence in ingredients and finished

23   products.

24          60.     Fourth, Defendants did not routinely adhere to their own internal metal

25   specifications or standards, allowing contaminated ingredients and finished products to be

26   released as “exceptional releases” or other simpler terminology. This resulted in ingredients
27   being used and baby foods manufactured and sold that contained levels of Toxic Heavy Metals

28   far higher than what was internally set by Defendants. In other instances, Defendants would
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 1   test products that had been put on the market after-the-fact, learn about the products containing

 2   extremely high levels of Toxic Heavy Metals, and then take no action to recall the product or

 3   warn consumers about the issue.

 4           61.    Fifth, upon information and belief, Defendants’ manufacturing practices also

 5   contributed to contamination. For example, the water used at some of the facilities where the

 6   baby foods were manufactured contained Toxic Heavy Metals which, in turn, ended up in the

 7   finished baby food product sold for consumption by babies.

 8           62.    Beech-Nut. Beech-Nut and Hero Group did not test their finished baby foods

 9   for heavy metals, only ingredients. And, Beech-Nut and Hero Group regularly accepted

10   ingredients testing far higher than its internal limits for Toxic Heavy Metals. They justified

11   such deviations as “exceptional releases.” For example, Beech-Nut and Hero Group

12   “exceptionally released” 160,000 pounds of sweet potatoes for their baby food products

13   notwithstanding the ingredient testing twice as high as Beech-Nut’s internal heavy metal limit

14   for lead.

15           63.    Moreover, Beech-Nut and Hero Group did not adequately test their ingredients

16   for heavy metals by limiting ingredient lots and ingredient quantities that were subject to metal

17   testing. For example, if a supplier supplied ingredients below a certain amount, they would not

18   test anything and simply use the ingredient in the finished product. Furthermore, in deciding to

19   violate their own internal limits, Beech-Nut and Hero Group took advantage of the fact that the

20   FDA does not routinely test baby foods for Toxic Heavy Metals.
21           64.    Upon information and belief, Beech-Nut and Hero Group went so far as to

22   manipulate their testing practices by continually re-testing ingredients that tested above their

23   internal specs until they obtained a result that was at or below their internal specs, knowing full

24   well that the ingredient was nonetheless contaminated.

25           65.    Beech-Nut and Hero Group’s internal specifications varied wildly by ingredient,

26   with Beech-Nut allowing very high levels of Toxic Heavy Metals for certain ingredients, and
27   insisting on lower levels for others. Thus, certain products like rice flour, were allowed to have

28   very high levels of metals like arsenic and lead, even in products that were 90% or more rice.
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 1   Beech-Nut and Hero Group did this because there were no regulations governing Toxic Heavy

 2   Metal in baby food and, therefore, to remain competitive in the baby food marketplace, Beech-

 3   Nut used contaminated ingredients because they were readily available.

 4          66.     Gerber. Gerber and Nestlé tested ingredients and, occasionally, finished

 5   products. However, while Gerber and Nestlé were the only Defendants to test both ingredients

 6   and finished products with any regularity, they set high heavy metal limits that rendered their

 7   food unsafe. For baby foods generally, between 2012 and 2019, Gerber and Nestlé set a limit of

 8   40 ppb for lead, 20 ppb for arsenic, and 10 ppb for mercury. For infant rice cereal, between

 9   2012 and 2017, Gerber and Nestlé set a lead limit of 100 ppb, with a “target” of 50 ppb in 2016

10   and 2017. Between 2018 and 2019, Gerber and Nestlé set a lead limit for 50 ppb. For arsenic

11   in rice cereal, between 2012 and 2015, Gerber and Nestlé did not have a limit, merely a target of

12   100 ppb. Then, between 2016 and 2018, it set the arsenic limit at 100 ppb. By 2019, Gerber

13   and Nestlé increased the arsenic limit to 130 ppb for cereals with 90% rice (and kept the limit at

14   100 ppb for other cereals). For snack foods, Gerber and Nestlé had a lead limit of 150 ppb

15   between 2012 and 2014. It was reduced to 100 ppb in 2016 and 2017, and then went down to 50

16   ppb in 2018 and 2019. There was no limit for arsenic in snack food prior 2016, just a “target”

17   of 100 ppb. Then a 100-ppb arsenic limit was set starting in 2016. For both infant cereal and

18   snacks, Gerber and Nestlé imposed a 30-ppb limit for mercury in infant cereal between 2012

19   and 2016, and reduced it to 10 ppb from 2017 onward. With these exceptionally high limits,

20   Gerber and Nestlé sold baby foods that were dangerous for infant consumption. They did this
21   knowingly.

22          67.     Gerber and Nestlé would also audit and re-test Toxic Heavy Metal results

23   submitted by suppliers, and find that the certification from suppliers were incorrect or false.

24   Gerber and Nestlé would nonetheless use the certified results and release products despite the

25   ingredients not meeting specifications or being safe for infant consumption.

26          68.     Gerber and Nestlé often used high-arsenic ingredients, for example, using 67
27   batches of rice flour that had tested over 90 ppb inorganic arsenic. Furthermore, Gerber and

28   Nestlé regularly sold baby food products testing over 100 ppb arsenic, at times reaching 116
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 1   ppb, and their average rice cereal product contained 87.43 ppb inorganic arsenic. Indeed, this is

 2   why Congress noted that “Gerber’s organic rice cereal is dangerous…” In other instances,

 3   Gerber permitted as much as 300 ppb of arsenic in the rice flour ingredient used to manufacture

 4   its U.S. baby foods, notwithstanding the fact that Gerber often implemented stricter standards

 5   for baby foods sold in other countries.

 6          69.     Gerber’s baby foods are also contaminated with elevated levels of lead. Gerber

 7   and Nestlé used ingredients that tested as high as 48 ppb lead and used many ingredients

 8   containing over 20 ppb lead. Furthermore, Gerber and Nestlé sold baby food products testing at

 9   and/or above 50 ppb of lead. Indeed, Gerber and Nestlé have historically permitted as much as

10   150 ppb lead in their baby food products. Although Gerber and Nestlé were fully aware that it

11   was very feasible to source lower-lead ingredients, they proceeded to use high-lead ingredients

12   in their baby foods. Gerber and Nestlé rarely test for mercury in their baby foods. This is

13   notwithstanding the fact that mercury is known to contaminate ingredients such as rice and

14   poses a severe risk to babies’ brain development.

15          70.     The February 4, 2021 Congressional Report found Gerber carrots tested for

16   cadmium at levels above 5 ppb, with some containing more than 87 ppb of cadmium. These are

17   exceptionally high levels.

18          71.     Moreover, compounding these troubling findings, Gerber and Nestlé historically

19   only tested certain ingredients of its baby food products and only occasionally tested the

20   finished products consumed by babies. It was not until recently that Gerber and Nestlé started
21   to implement finished product testing on a more regular basis.

22          72.     Gerber and Nestlé have known since at least the 1990s that inorganic arsenic was

23   neurotoxic and caused developmental issues. Despite this knowledge, in 2012, when Gerber’s

24   infant rice cereal was on the front page of a Consumer Report article on arsenic, a Gerber

25   spokesperson told the public that arsenic in baby food posed no health risk.

26          73.     Hain. Hain did not test its baby food products for heavy metals until 2020 (rice
27   cereal) and 2021 (other baby food). Instead, Hain tested some ingredients used in their foods

28   (but not all ingredients). Ingredients were required to meet specific specifications for each
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 1   specific ingredient. Those specifications, however, would change wildly without explanation.

 2   For example, prior to August 2014, Hain’s lead specification for Oat Flour was 200 ppb. Then

 3   it was reduced to 50 ppb for four months, went back up to 100 ppb for three months, went back

 4   up to 200 ppb for a month, came down to 20 ppb for seven months, went to 25 ppb for six

 5   months, and then went back to 200 ppb for the next fourteen months. When asked about this

 6   seemingly chaotic shifting of specifications, Hain could not explain it.

 7           74.     Hain would routinely accept ingredients that tested above specifications and use

 8   them in baby foods anyway. These “exceptional” releases were made because there were no

 9   FDA regulations specifically preventing them.

10           75.     Because Hain only tested ingredients, and not finished products, they would

11   underestimate metal exposure. For example, in August 2019, the FDA did what Hain had

12   refused: it actually tested Hain’s baby food products for heavy metals. FDA sampled Hain’s rice

13   cereal and found levels in excess of 100 ppb. FDA tested 20 of Hain’s rice cereal products (all

14   manufactured by Beech-Nut for Hain) sold between September 2017 and June 2018, and found

15   9 samples in excess of 100 ppb of inorganic arsenic, and 16 (80%) above 90 ppb. The FDA

16   raised concern about Hain’s failure to test finished product, and asked Hain to conduct an

17   investigation. These concerns about Hain’s rice cereal were independently confirmed by HBBF,

18   where they found 113 and 107 ppb of inorganic arsenic (138 and 126 ppb of arsenic) in those

19   same products. As a result of the FDA-ordered investigation, Hain learned that its rice cereal

20   exceeded FDA arsenic levels because Hain never accounted for the arsenic added to the product
21   from the vitamin premix. Hain discovered that the vitamin premix specification was 3,000 ppb

22   for arsenic and 4,000 ppb for lead. They realized that their products needed to be tested in

23   finished form to actually estimate the levels of heavy metals in their foods. Hain also realized

24   that the use of brown rice was contributing to the high levels of arsenic, so, thereafter, they

25   started using white rice (as opposed to brown rice) to reduce arsenic levels and began testing

26   rice cereal regularly.
27           76.     Hain’s inept process of monitoring the safety of their baby foods resulted in

28   products being sold that contained Toxic Heavy Metals, and this was done with full knowledge
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 1   of the risks. When asked why Hain did not warn consumers of the Toxic Heavy Metals in their

 2   foods, Hain responded that if they warned, people would not buy their products.

 3          77.     Nurture.    Since 2006, Defendant Nurture, under the name Happy Family

 4   Organics, has sold a wide variety of baby food products. It was not until 2013—seven years

 5   after sales began—and after the Danone acquisition, that Nurture and Danone started testing its

 6   finished baby food products for lead. This testing, however, remained infrequent and occurred

 7   only after the products had been released to the public—not as a condition of product release.

 8   Indeed, as of July of 2021, Nurture was still not testing every batch or lot of its baby food

 9   products for heavy metals and was not including heavy metal testing as a condition of release.

10          78.     Nurture and Danone took a lackadaisical approach to sourcing oversight. For

11   example, Nurture and Danone partnered with co-manufacturer companies to make many of their

12   baby food products, a common practice within the industry. However, Nurture and Danone did

13   not always require those co-manufacturers to provide information regarding the farms where

14   ingredients were grown. Although Nurture and Danone advertise to consumers that they have

15   “Farmer Partners” who they “trust to grow our ingredients,” Nurture and Danone did not even

16   participate in selecting the farms from which co-manufacturers sourced their ingredients. As a

17   result, Nurture and Danone do not even know all of the individual farms that grow their food,

18   making it impossible to ensure that all of their ingredients were sourced from approved farms.

19   To make matters worse, they chose not to require all of their suppliers to have specifications

20   addressing limits for heavy metals in acceptable products. This practice all but ensured that
21   Nurture and Danone would never have a fully accurate picture of the levels of heavy metals in

22   their ingredients or whether there were particular farms or regions that should be avoided.

23          79.     And yet, all the while, Nurture and Danone knew that toxic heavy metals in their

24   baby food could cause brain damage in children. Not only did Nurture and Danone know of the

25   dangers heavy metals in their food posed to children, they also trained their employees on that

26   specific risk. For example, Nurture and Danone knew that dangerous levels of arsenic existed
27   in the rice that served as the base for many of its baby food products. Despite this knowledge,

28   Nurture never removed rice from its products.
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 1          80.    But in full view of this knowledge and with full understanding of their

 2   lackadaisical ingredient oversight approach, Nurture and Danone chose to rarely test their

 3   finished products for toxic heavy metals. And when they did test their products, they sold them

 4   regardless of what the tests showed. For example, Danone and Nurture sold baby foods after

 5   tests showed they contained as much as 180 ppb inorganic arsenic. Over 25% of the products

 6   Nurture tested before sale contained over 100 ppb inorganic arsenic. Nurture’s testing shows

 7   that the typical baby food product it sold contained 60 ppb inorganic arsenic. Danone and

 8   Nurture sold finished baby food products that tested as high as 641 ppb lead. Almost 20% of

 9   the finished baby food products that Nurture tested contained over 10 ppb lead. Moreover,

10   Danone and Nurture sold finished baby food products containing as much as 10 ppb mercury.

11   But Nurture never issued a recall for these products. Indeed, nothing indicates that Nurture

12   made any changes to its policies or approaches toward heavy metals monitoring to ensure that

13   baby food with this level of heavy metal contamination was not released to the public.

14          81.    The guiding light for Nurture and Danone’s choices was always money. They

15   chose their infrequent testing and lack of heavy metal specifications policies based on cost.

16   They chose not to inform parents of the presence of heavy metals in their foods because they

17   knew parents would then not purchase their products. They capitalized on the term “organic”

18   that featured prominently on their labels, knowingly exploiting consumers’ widespread

19   confusion that “organic” means free of heavy metals. And, they implemented policies of

20   refusing to provide testing results of their products to consumers, even when parents asked,
21   because they knew the effect such information would have on their sales.

22          82.    Plum. Plum was founded in 2007 and has sold a wide variety of baby food

23   products under the name Plum Organics since that time. Plum was owned and controlled by

24   Campbell from roughly 2013 until roughly May 2021 when Plum was sold to Sun-Maid.

25          83.    Despite Plum’s public facing statements that “little ones deserve the very best

26   food from the very first bite” and despite understanding that environmental toxins like heavy
27   metals can cause neurodevelopmental disorders in children, Plum and Campbell/Sun-Maid did

28   very little to ensure that the Plum baby food products marketed for consumption by children are
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 1   not contaminated with dangerous levels of heavy metals. For example, though Plum and

 2   Campbell/Sun-Maid knew that the heavy metal contents of the ingredients used in its products

 3   varied by growing region and supplier, they did not undertake an effort to source ingredients

 4   with the lowest amount of heavy metals available.             And, despite knowing that certain

 5   ingredients carry a higher risk for heavy metal contamination, Plum and Campbell/Sun-Maid

 6   did not reformulate their products to ensure that they were being made with the lowest

 7   achievable amount of heavy metals.

 8          84.     Plum and Campbell failed to set limits on the amount of heavy metals that could

 9   be present in Plum’s finished baby food products. From 2007 to at least April 2021, they did

10   not set any limits for the amount of lead, arsenic, mercury, cadmium, or aluminum that their

11   finished products could contain.

12          85.     Plum and Campbell also failed to set limits on the amount of heavy metals that

13   could be present in the ingredients used in Plum’s baby food products. Prior to 2016, they did

14   not set limits for the amount of heavy metals that could be present in the ingredients used in

15   Plum products. When Plum and Campbell did begin to implement heavy metal limits for Plum

16   ingredients (in or around 2017), it did so only for lead, arsenic, and cadmium. As of April

17   2021, Plum and Campbell still had no limits for the amount of mercury and aluminum that

18   could be in the ingredients used in their baby food products.

19          86.     When Plum did set some heavy metal limits (for lead and arsenic for ingredients

20   only) it set those limits several times in excess of what was achievable for most ingredients.
21   For example, despite certain fruits and vegetables normally containing less than 5 ppb lead or

22   arsenic, Plum set the heavy metal limits for all Plum ingredients for lead and arsenic at 100 ppb.

23   And, even still, despite setting these limits dangerously high, Plum and Campbell/Sun-Maid still

24   utilized ingredients that tested in excess of those limits.

25          87.     Plum and Campbell/Sun-Maid also conducted very little oversight of their co-

26   manufacturers to ensure that the heavy metal limits for ingredients used in Plum products were
27   adhered to. For example, prior to 2017, Plum and Campbell did not require the ingredient

28   suppliers they contracted with to submit heavy metal testing data but instead relied on supplier
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 1   assurances that the ingredients did not contain heavy metals and/or complied with all

 2   government regulations regarding heavy metals. When Plum and Campbell/Sun-Maid did

 3   begin to require testing on some of the ingredients used in its products for lead and arsenic,

 4   those efforts were scattershot and did not extend to all lots of all ingredients used in Plum baby

 5   food products. Where verification testing was conducted on ingredients, it was often done in an

 6   unaccredited lab.

 7           88.     Despite not having a comprehensive ingredient testing program to ensure that

 8   Plum food marketed for babies was not contaminated with Toxic Heavy Metals, Plum and

 9   Campbell/Sun-Maid also did not conduct heavy metal testing on Plum products prior to sale.

10   Plum only first conducted finished product testing in the wake of public reports that exposed

11   Plum baby food products as being contaminated with dangerous levels of heavy metals. Upon

12   information and belief, no rigorous heavy metal testing program on ingredients and finished

13   product was ever implemented and Plum and Campbell/Sun-Maid continued and continue to

14   sell baby food contaminated with elevated levels of heavy metals without first testing to ensure

15   their safety.

16           89.     Sprout. Sprout’s baby foods are contaminated with Toxic Heavy Metals. For

17   example, the HBBF Report observed that Sprout’s Organic Quiona Puffs Baby Cereal Snack-

18   Apple Kale contained 107 ppb total arsenic, 47 ppb inorganic arsenic, 39.3 ppb lead, and 41.5

19   ppb cadmium. These levels are all highly dangerous for consumption by an infant.

20           90.     Sprout’s testing and oversight are extremely lacking. Sprout claims that it relies
21   on its ingredients suppliers to test their ingredients for some Toxic Heavy Metals and only asks

22   the suppliers to test once a year—a frequency that cannot ensure any safety. However, upon

23   information and belief, despite its representations, Sprout did not require its raw ingredient

24   suppliers to provide yearly heavy metal test results prior to the Subcommittee’s inquiry into the

25   company.

26           91.     Sprout provided only 11 toxic heavy metal test results to the Subcommittee
27   stating that “[b]ecause Sprout requires annual testing for heavy metals for its ingredients, rather

28   than by lot, Sprout is unable to provide testing information for each lot as requested.” The
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 1   Subcommittee called this testing the “the most reckless among baby food sellers on the market.”

 2          92.     Since it began testing in 2021, the results observed in Sprout’s food are

 3   disturbing. For example, testing showed, on average, over 300 ppb of arsenic in Sprout’s puff

 4   products, with levels as high as 470 ppb. Testing on other Toxic Heavy Metals also shows

 5   exceptionally high levels in various Sprout products.          Sprout’s consistent failure to test,

 6   regulate, or monitor their baby food products, has led to the sale of an alarming number of baby

 7   food products that were contaminated with Toxic Heavy Metals.

 8          93.     Internal documents within Sprout confirm that the companies were aware of

 9   these issues, even made jokes about it, but took no action to take reasonable care to avoid harm

10   to infants until Congress blew the whistle on Sprout—and then, only after Sprout initially

11   refused to cooperate with a Congressional investigation.

12          94.     Despite these findings, Sprout continues to market its products as safe, stating on

13   its website, “[i]f it isn’t safe, healthy, and delicious, we don’t make it.” Considering they never

14   tested their products prior to 2021, this statement is, at best, an overstatement.

15

16   Type of Food                             Lead      Arsenic Mercury         Cadmium Aluminum
     Dry baby food with no juice or
                                              None      None       None         None        None
17   nectar
     Dry baby food with juice or nectar       50 ppb    23 ppb     None         None        None
18
     Wet baby food with no juice or
                                              None      None       None         None        None
19   nectar
     Wet baby food with juice or nectar       50 ppb    23 ppb     None         None        None
20   Yogurt baby food products                None      None       None         None        None
21   IV.    Defendants Abandon Efforts to Reduce Metal Levels in Baby Foods
22          95.     In 2019, as concerns grew over contamination of certain baby foods on the U.S.
23   market, a consortium of the Baby Food Manufacturers comprised of Defendants Beech-Nut,
24   Plum/Campbell, Gerber, Hain, Nurture, and Sprout, as well as certain interested third party
25   groups such as the Environmental Defense Fund (“EDF”) and HBBF, were formed with the
26   intention “of reducing heavy metals in young children’s food.”
27          96.     The consortium was named the Baby Food Council (“BFC”). The BFC involved
28   the sharing of common testing data on the levels of metal contamination of Defendants’ baby
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 1   foods, a grant to Cornell University to further study the issue, and a proposed “voluntary Baby

 2   Food Standard to limit the amounts of heavy metals in baby food.” The BFC specifically

 3   recognized the risk of neurodevelopmental harm caused by Toxic Heavy Metals to the

 4   developing brain of infants and that there were no safe levels of exposure.

 5          97.      The Baby Food Standard “would have provided companies with a common

 6   framework for progressively reducing contaminants by regularly testing products and

 7   improving management practices, and for being transparent with consumers about the safety of

 8   their products.”

 9          98.      After several years of negotiations and discussions, including a proposed system

10   for testing, the EDF and HBBF proposed voluntary limits of 1 ppb for lead. The baby food

11   companies, however, rejected the proposal outright. Participation in the BFC was little more

12   than a façade—they had no intention of self-regulating their products as it related to Toxic

13   Heavy Metals.

14          99.      This led EDF and HBBF to leave the BFC in protest in 2021. They explained

15   their departure publicly, noting that Defendants “all decided to backpedal on this project—even

16   though the standard was designed to protect babies’ brain development” and provide adequate

17   notice to consumers regarding the presence of Toxic Heavy Metals on Baby Food labeling.

18   EDF explained:

19          EDF cofounded the Council because we believed there was a shared commitment
            to reduce levels of lead, arsenic and cadmium in baby food products to better
20          protect children’s developing brains from these toxins … Unfortunately, the
            companies chose to cease the Council’s development of a voluntary Baby Food
21          Standard that it had begun in late 2020. The Standard would have provided
22          companies with a common framework for progressively reducing contaminants
            by regularly testing products and improving management practices, and for being
23          transparent with consumers about the safety of their products. Negotiations failed
            to provide an alternative approach that EDF felt was sufficient to drive down
24          levels of lead, arsenic and cadmium in baby food.”
25          100.     HBBF explained:
26          Healthy Babies Bright Futures is focused on tangibly reducing neurotoxic
            exposures to babies. The baby food companies’ refusal to jointly set limits for
27
            heavy metals in baby food has shown that the Council will no longer be the
28          powerful mechanism for this important work that the initial plans had promised.
            The baby food companies’ decision to stop progress on a voluntary standard for
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 1          heavy metals in baby food is a disappointment … What started as dedication has
            turned into delay and intention has become inaction. So HBBF has decided to put
 2          our effort into other initiatives that will move the needle on this important issue.
 3          101.    In short, the Defendants opted to continue “self-regulating,” the same self-
 4   regulation which exposed—and continued to expose—Plaintiffs to Toxic Heavy Metals in
 5   Defendants’ baby foods.
 6
                22. The Dangers of Toxic Heavy Metals and Metal Exposure Through
 7                     Consumption of Baby Foods

 8          102.    According to the World Health Organization (“WHO”), Toxic Heavy Metals,
 9   specifically lead, arsenic, mercury, and cadmium pose a “major public health concern” for
10   children. The Occupational Safety and Health Administration (“OSHA”) has warned that these
11   metals “may build up in biological systems and become a significant health hazard.” Indeed,
12   the Department of Health and Human Services’ Agency for Toxic Substances and Disease
13   Registry (“ATSDR”) ranks arsenic as number one among substances present in the environment
14   that pose the most significant potential threat to human health, followed by lead (second),
15   mercury (third), and cadmium (seventh).
16          103.    The threat presented by Toxic Heavy Metals to children’s health is widely shared
17   by the global regulatory and scientific community. For example, the FDA has set an Interim
18   Reference Level (“IRL”) of 2.2 micrograms/day for lead exposure through baby food products.
19   That is the amount of lead exposure at or above which the agency considers associated with
20   adverse neurodevelopmental effects in babies. The FDA, in its guidance documents for
21   inorganic arsenic and lead in baby food products has repeatedly acknowledged the dangers of
22   heavy metals to the neurodevelopment of infants.
23          Even low lead exposure can harm children’s health and development, specifically
24          the brain and nervous system. Neurological effects of lead exposure during early
            childhood include learning disabilities, behavior difficulties, and lowered IQ.
25          Lead exposures also may be associated with immunological, cardiovascular,
            renal, and reproductive and/or developmental effects…Because lead can
26          accumulate in the body, even low-level chronic exposure can be hazardous over
            time…Even though no safe level of lead exposure has yet been identified for
27          children's health, the IRL serves as a useful benchmark in evaluating the potential
28          for adverse effects of dietary lead. In particular, FDA is focused on the potential
            for neurodevelopmental effects from lead exposure, as review of the scientific
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 1          literature indicates that such adverse effects of lead consistently occur at a blood
            lead level associated with FDA’s IRL for children. (emphasis added).
 2

 3          104.     As one recent study observed, “[t]he implications of heavy metals with regards
 4   to children’s health have been noted to be more severe compared to adults. The elements’
 5   harmful consequences on children health include mental retardation, neurocognitive disorders,
 6   behavioral disorders, respiratory problems, cancer and cardiovascular diseases. Much attention
 7   should be given to heavy metals because of their high toxicity potential, widespread use, and
 8   prevalence.” Children and, even more so, babies have higher exposure to metals compared to
 9   adults because they consume more food in relation to their body weight and absorb metals more
10   readily than adults by 40 to 90%.
11          105.     The mechanisms needed to metabolize and eliminate heavy metals are
12   comparatively undeveloped in childhood, with babies having weaker detoxifying mechanisms
13   and poorer immune systems than adults. For example, liver pathways that in adulthood
14   metabolize absorbed arsenic do not mature until mid-childhood; un-excreted arsenic thus
15   continues to circulate and is deposited in other organs. According to Linda McCauley, Dean of
16   the Nell Hodgson Woodruff School of Nursing at Emory University, who studies environmental
17   health effects, “[n]o level of exposure to these [heavy] metals has been shown to be safe in
18   vulnerable infants.”
19          106.     Thus, “the major windows of developmental vulnerability occur during infancy
20   and early childhood due to continuing brain development after birth.” In short, even small
21   amounts of exposure to Toxic Heavy Metals can have devastating health outcomes for babies
22   and children.
23   VI.    Exposure to Toxic Heavy Metals Has Been Consistently Associated with
24          Neurodevelopmental Harm, i.e., Autism and ADHD in Pediatric Populations

25          107.     It is well-known that exposure to Toxic Heavy Metals in early life can interfere

26   with neurodevelopment at exceedingly low levels of exposure. And, one of the ways in which

27   such interference with neurodevelopment can present in a child is in the form of the

28   neurodevelopmental disorders ASD and ADHD. As the U.S. Centers for Disease Control
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 1   observed in its 2020 Toxicological Profile for Lead, at just ≤10 μg/dL: “The following

 2   neurobehavioral effects in children have been associated with [lead]: “Altered mood and

 3   behaviors that may contribute to learning deficits, including attention deficits, hyperactivity,

 4   autistic behaviors, conduct disorders, and delinquency.” (emphasis added). Likewise, the NIH

 5   states: “prenatal and early childhood exposure to heavy metals…may be linked to autism

 6   spectrum disorder.”

 7          108.    Such conclusions have likewise been reached by a consortium of the country’s

 8   leading epidemiologists, pediatricians, and medical groups, noting that Toxic Heavy Metals

 9   such as lead and mercury are “prime examples of toxic chemicals that can contribute to

10   learning, behavioral, or intellectual impairment, as well as specific neurodevelopmental

11   disorders such as ADHD or autism spectrum disorder.”

12          109.    Multiple studies, reviews, and meta-analyses conducted throughout various parts

13   of the world over the last decade have consistently observed that early life exposure to heavy

14   metals can cause brain injury and, specifically, brain injury which manifests as ASD.

15          110.    For example, four meta-analyses published in 2014, 2017, 2019 and 2020,

16   respectively, observed consistent associations between exposure to arsenic, cadmium, and

17   mercury and ASD in children; with the authors in all three studies recommending – based on

18   the data – that exposure to such metals in children be reduced as much as possible, and one of

19   the study authors specifically concluding that “Results of the current meta-analysis revealed that

20   mercury is an important causal factor in the etiology of ASD.”
21          111.    In a recent 2017 NIH-funded prospective observational study, the authors

22   examined the risk of ASD outcome in twins based on their respective body burden of lead. The

23   study concluded in no uncertain terms that “prenatal and early childhood disruption (excess or

24   deficiency) of multiple metals during critical developmental windows is associated with ASD,

25   and suggests a role for elemental dysregulation in the etiology of ASD.”

26          112.    Similarly, a large, prospective study from 2016 in Korean school children
27   observed that low levels of lead exposure in early life are associated with autism, the authors

28   specifically concluding: “even low blood lead concentrations…are associated with more autistic
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 1   behaviors… underscoring the need for continued efforts to reduce lead exposure.”

 2          113.    Studies have repeatedly observed strong associations between exposure to

 3   cadmium and aluminum and neurodevelopmental disorders such as ASD, as observed by a

 4   recent study: “Environmental exposure to…cadmium (Cd)… and aluminum (Al) has been

 5   associated with neurodevelopmental disorders including autism spectrum disorder (ASD).” For

 6   example, a study from 2014 evaluated the body burden of lead, cadmium, and arsenic in

 7   children with autism compared to controls and noted that, in addition to lead and arsenic, “our

 8   study demonstrated elevation in the levels of…cadmium…in a child with autism,” while an

 9   earlier study noted that “autism may be associated with significant alterations of some rare

10   element concentrations, including Cd…” Such results have been confirmed by meta-analyses

11   which “show significant associations between ASD and the metals Al [and] Cd.” And, such

12   earlier data is further supported by recent research, with a 2023 systematic review and meta-

13   analysis concluding that “compared with the healthy control group, the ASD group had higher

14   concentrations of Cd, Pb, arsenic, and Hg. These 4 heavy metals play different roles in the

15   occurrence and progression of ASD.”

16          114.    Repeated associations between early life Toxic Heavy Metal exposure and ASD

17   have also been observed during the pre-natal timeframe, lending further strength to the findings

18   of post-natal studies. For example, in a 2021 study by Skogheim and colleagues, the authors

19   prospectively assessed the relationship between pre-natal metal exposure in various biomarkers

20   and autism risk. The study concluded that “[r]esults from the present study show several
21   associations between levels of metals and elements during gestation and ASD and ADHD in

22   children. The most notable ones involved arsenic…mercury…and lead. Our results suggest that

23   even population levels of these compounds may have negative impacts on neurodevelopment.”

24          115.    Similarly, in a study by the research group assessing the New Hampshire Birth

25   Cohort, the authors evaluated the neurotoxic effects of heavy metals during various stages of

26   pregnancy and concluded: “Our results support the hypothesis that exposure to…As in mid to
27   late pregnancy may be neurodevelopmentally harmful.”

28          116.    Such results have been replicated in studies throughout the world, including
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 1   China, Korea, the U.S., Europe, and Egypt, implicating arsenic, mercury, and lead in pediatric

 2   diagnoses of autism and autistic behaviors, with a 2018 Chinese study concluding: “[t]he results

 3   of this study are consistent with numerous previous studies, supporting an important role for

 4   heavy metal exposure, particularly mercury, in the etiology of ASD.” Indeed, a 2015 Egyptian

 5   study noted “[e]nvironmental exposure to these toxic heavy metals, at key times in development,

 6   may play a causal role in autism.” (emphasis added).

 7          117.    Exposure to Toxic Heavy Metals, specifically lead, has also been repeatedly

 8   associated with the development of ADHD in children, as demonstrated by numerous studies.

 9          118.    No fewer than four large meta-analyses, conducted in four different continents

10   (North America, South America, Europe and Asia), and some employing a cross-sectional

11   design, have observed a consistent association between various metals and ADHD in children.

12   Indeed, the authors of the meta-analysis from Spain noted that “the evidence from the studies

13   allowed us to establish that there is an association between lead and ADHD and that even low

14   levels of lead raise the risk.” (emphasis added).

15          119.    The findings from the meta-analyses have been replicated in several Chinese

16   studies from 2006, 2014, and 2018, respectively. Notably, the authors of the 2014 Chinese

17   study observed that “[e]xposure to lead even at low levels correlates with attention-

18   deficit/hyperactivity disorder (ADHD). However, lead-contaminated environments are often

19   contaminated with other heavy metals that could exacerbate lead-induced ADHD.” (emphasis

20   added). This is particularly relevant—and disturbing—as children who consumed Defendants’
21   baby foods were repeatedly exposed to a cocktail of Toxic Heavy Metals that, synergistically,

22   further increased their risk of developing ADHD.

23          120.    Moreover, studies have observed a dose-response relationship between exposure

24   to Toxic Heavy Metals and ADHD, as demonstrated by the 2016 Spanish study Donzelli, et al.

25   Another 2016 cross-sectional study from Spain was conducted on 261 children aged 6-9 to

26   examine the association between exposure to arsenic and ADHD. After adjusting for potential
27   confounders, the authors observed a dose-response relationship between urine arsenic levels and

28   inattention and impulsivity scores, concluding that “[urine arsenic] levels were associated with
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 1   impaired attention/cognitive function, even at levels considered safe. These results provide

 2   additional evidence that postnatal arsenic exposure impairs neurological function in children.”

 3   (emphasis added).

 4          121.    The fact that such results, and many more, have been observed in multiple

 5   studies, conducted by different researchers, at different times, in different parts of the world, in

 6   children of multiple ages, utilizing different study methods (prospective, case-control and cross-

 7   sectional epidemiological analyses) and measuring a variety of end-points (including hair,

 8   blood, and urine), strongly supports a causal relationship between exposure to Toxic Heavy

 9   Metals and the development of ASD and ADHD in children.

10   VII.   Defendants’ Baby Foods Contain Toxic Heavy Metals Capable of Interfering with
            Early Neurodevelopment
11

12          122.    As illustrated above, Toxic Heavy Metal exposure is capable of inflicting
13   damage to the developing brain at extremely low doses. And, upon information and belief,
14   Defendants manufactured and sold baby foods containing Toxic Heavy Metals that can, under
15   certain circumstances (based upon the genetic susceptibilities, medical history, and other factors
16   of the exposed child) interfere with a baby’s neurodevelopment sufficient to cause conditions
17   such as ASD and ADHD.
18          123.    As an initial matter, the study commissioned by HBBF and discussed above
19   specifically evaluated the propensity for arsenic exposure through consumption of infant rice
20   cereal to impact early life neurodevelopment. Following analyses of the levels of arsenic
21   exposure from consumption of infant rice cereal, the authors concluded “that high consumers of
22   infant rice cereal (i.e., infants eating three servings per day) eating products currently on the
23   U.S. market would have a daily arsenic intake of 0.35-0.67 µg/kg bw/day…per the Tsuji et al.
24   (2015) lower-bound estimate for an RfD for the neurodevelopmental effects of arsenic (0.4
25   µg/kg bw/day), high consumers of infant rice cereal may also be at risk for this endpoint. Even
26   in average consumers of infant rice cereal (i.e., one serving per day), our estimates of arsenic
27   intakes (0.15 to 0.29 µg/kg bw/day) leave little room for exposures to arsenic from other
28   sources.” Thus, consumption of Defendants’ baby foods, including but not limited to infant rice
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 1   cereal and rice-based snack baby food products manufactured and sold by Defendants can

 2   expose babies to levels of arsenic above that associated with neurodevelopmental harm in the

 3   scientific literature.

 4            124.    Defendants manufactured and sold baby food products that, with just a couple of

 5   servings, are capable of exposing a baby to lead levels at or above the 2.2 ug/day considered by

 6   the FDA to be associated with neurodevelopmental harm. Each source of lead exposure is

 7   cumulative—making any detectable amount of Toxic Heavy Metal in baby food a contributing

 8   factor to potential neurodevelopmental harm.

 9            125.    Similarly, upon information and belief, Defendant Hain was aware of the

10   neurotoxic propensities of lead, arsenic, and mercury at low levels, but proceeded to

11   manufacture and sell Baby Foods containing arsenic and lead levels that, upon information and

12   belief, Hain considered as capable of inflicting neurodevelopmental harm.

13   VIII. Defendants Knowingly Sold Baby Foods Containing Toxic Heavy Metals and Knew
           or Should Have Known of the Risks of Such Exposures in Children and Thus
14
           Breeched their Duty of Care in Selling Contaminated Baby Foods
15

16            126.    During the time that Defendants manufactured and sold baby foods in the United

17   States, the weight of evidence showed that Defendants’ baby foods exposed babies and children

18   to Toxic Heavy Metals. Defendants failed to disclose this risk to consumers through any

19   means.

20            127.    As discussed above, both independent testing, the Defendants’ internal

21   evaluations of their baby foods, and the Defendants’ representations and disclosures to

22   Congress and the FDA reveal the presence of Toxic Heavy Metals in Defendants’ products. As

23   such, Defendants knew or should have known that their baby foods contain Toxic Heavy Metals

24   with an attendant risk of causing neurodevelopmental harm.

25            128.    Indeed, independent testing performed in early 2019 demonstrated elevated

26   amounts of such Toxic Heavy Metals in Baby Food products on the U.S. market, and the HBBF

27   Report further confirmed such contamination of Defendants’ baby foods. And, as the

28   Congressional investigation found, the Defendants continued to sell their baby foods even after
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 1   testing of both ingredients and finished products revealed the presence of Toxic Heavy Metals.

 2          129.    Moreover, the scientific literature on the dangers of Toxic Heavy Metals—

 3   particularly as it relates to adverse effects on the neurodevelopment of children—have been

 4   well known for decades. Defendants, as manufacturers and sellers of baby foods, are held to the

 5   standard of experts and responsible for keeping abreast of the latest scientific developments

 6   related are held to the dangers of contaminants in their products. Defendants failed to take

 7   action to protect vulnerable children from exposure to the Toxic Heavy Metals in their foods

 8   and, thus, subjected them to the risk of brain injury which can manifest as neurodevelopmental

 9   disorders such as ASD, ADHD, and related sequalae.

10          130.    To be clear, the Defendants are able to manufacture baby foods that do not pose

11   such a dangerous risk to the health of infants and children by using alternative ingredients, not

12   adding certain pre-mix minerals and vitamins high in Toxic Heavy Metals or sampling their

13   ingredients from other sources. At the very least, Defendants were under a duty to warn

14   unsuspecting parents of the presence of Toxic Heavy Metals in their Baby Foods.

15
     IX.    Defendants’ Baby Food Products Were Defective Due to Insufficient Warnings,
16          Manufacturing Defects, and/or Design Defects to the Extent the Baby Food
            Products Contained Detectable Levels of Toxic Heavy Metal
17

18          131.    All of Defendants’ baby food products that contained detectable levels of Toxic

19   Heavy Metals (or constituted finished products wherein the ingredients contained detectable

20   levels of Toxic Heavy Metals), assuming state of the art analytical testing, were defective as it

21   relates to warnings because no Defendant has ever warned about the presence of Toxic Heavy

22   Metals in their baby foods. Because discovery is ongoing, a complete list of Defendants’

23   specific baby foods that contained detectable levels of Toxic Heavy Metals is not known at this

24   time. Based on publicly available testing data, including data reported by HBBF and Congress,

25   the vast majority of Defendants’ products contain detectable levels of Toxic Heavy Metals in

26   them, rendering them each defective as it relates to warnings.

27          132.    Defendants’ baby food products are also defective as manufactured, as they

28   contain detectable Toxic Heavy Metals which are not supposed to be there, by design. Toxic
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 1   Heavy Metals do not provide any nutritional or therapeutic value to infants or fully-grown

 2   humans. They are only poisonous to neurodevelopment. None of these baby food products, by

 3   design, should contain Toxic Heavy Metals in them and, thus, to the extent the products contain

 4   detectable levels of Toxic Heavy Metals in them, those are manufacturing defects. Based on

 5   publicly available data, most of Defendants’ baby food products contain some detectable levels

 6   of Toxic Heavy Metals in them.

 7          133.    If Defendants specifically designed their baby food products to contain Toxic

 8   Heavy Metals, meaning their presence was not the product of a manufacturing defect, then the

 9   products were defective by design. Toxic Heavy Metals should not be present in foods that are

10   being consumed by infants and products should be designed to not have detectable levels of

11   toxic heavy metal in them. Such designs are easily accomplished, by only using ingredients that

12   contain non-detectable levels of Toxic Heavy Metals and by testing finished products, before

13   release, to ensure they do not contain Toxic Heavy Metals within them. This is possible

14   because there are examples of Defendants’ finished products not containing detectable levels of

15   Toxic Heavy Metals—even if, for that same products, there are instances where they did. Thus,

16   Defendants were able to design baby food products to not contain detectable levels of toxic

17   heavy metals, and to the extent that each Defendants’ design contemplated there being

18   detectable levels of Toxic Heavy Metals in baby food, the design, itself, was defective.

19          134.    Whether the Defendants’ products were defective due to inadequate warnings,

20   manufacturing errors, or by design, the existing publicly available evidence indicates that
21   consumption of Defendants’ baby food products exposed Plaintiff to Toxic Heavy Metals, and

22   that Defendants’ baby food products contributed to Plaintiff’s Toxic Heavy Metal burden

23   during a critical period of infant neurodevelopment. Plaintiff, thus, alleges that this cumulative

24   exposure from Defendants’ products to Toxic Heavy Metals, substantially contributed to

25   causing neurodevelopmental harm that manifested as ASD and ADHD. Moreover, Plaintiff

26   alleges that had these baby food products not been defective—by having sufficient warnings,
27   being correctly manufactured, and/or designed properly—Plaintiff would not have been

28   exposed to levels of Toxic Heavy Metals in Defendants’ baby food products that would have
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 1   contributed to the neurodevelopmental harm that manifested as ASD and ADHD.

 2   X.     Exemplary / Punitive Damages Allegations

 3          135.    Defendants’ conduct as alleged herein was done with reckless disregard for

 4   human life, oppression, and malice. Defendants’ conduct is particularly reprehensible given

 5   that their toxic foods were directed at vulnerable babies—a population group far more

 6   susceptible than adults to the neurotoxic dangers of heavy metals.

 7          136.    Defendants were fully aware of the safety risks of Contaminated Baby Foods,

 8   particularly the dangerous potential of Toxic Heavy Metals on neurodevelopment in infants and

 9   children. Nonetheless, Defendants deliberately crafted their label, marketing, and promotion to

10   mislead consumers. Indeed, Defendants repeatedly market their baby foods as safe for

11   consumption and go so far as claiming that they adhere to “the strictest standards in the world;”

12   and provide “baby’s food full of nutrition while meeting standards strict enough for tiny

13   tummies,” as well as other statements and representations that hold out their baby foods as safe

14   for consumption by infants. Indeed, each Defendant falsely reassured

15   parents/guardians/caregivers that their baby foods would foster healthy neurodevelopment when

16   consumed even though they knew their baby foods exposed infants’ developing brains to potent

17   neurotoxic heavy metals. In actual fact, as discussed above, Defendants routinely sold

18   Contaminated Baby Foods, regularly flouted their own internal limits of Toxic Heavy Metals

19   and failed to disclose to consumers that their products contained such dangerous contaminants.

20          137.    This was not done by accident or through some justifiable negligence. Rather,
21   Defendants knew they could profit by convincing consumers that their baby foods were heathy

22   and safe for infants, and that full disclosure of presence and/or risks of the Toxic Heavy Metals

23   present in the baby foods would limit the amount of money Defendants would make selling the

24   products. Defendants’ object was accomplished not only through a misleading label, but

25   through a comprehensive scheme of selective misleading research and testing, failure to test,

26   false advertising, and deceptive omissions as more fully alleged throughout this Complaint.
27   Parents/guardians/caregivers were denied the right to make an informed decision about whether

28   to purchase Defendants’ baby food for their babies without knowing the full risks attendant to
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 1   that use. Such conduct was done with conscious disregard of Plaintiffs’ welfare and rights.

 2                                  PLAINTIFF’S USE AND INJURY

 3          138.    Plaintiff was diagnosed with ASD and ADHD at approximately 2 years of age.

 4          139.    Plaintiff consumed Baby Food products manufactured and/or sold by the

 5   Defendants.

 6          140.    Upon information and belief, the Baby Food products manufactured/marketed by

 7   Defendants and consumed by Plaintiff were all contaminated with substantial quantities of

 8   Toxic Heavy Metals.

 9          141.     Upon information and belief, as a direct and proximate result of consuming

10   Defendants’ Baby Foods, Plaintiff was exposed to substantial quantities of Toxic Heavy Metals.

11          142.    As a direct and proximate result of consuming Defendants’ Baby Foods and the

12   exposure to the Toxic Heavy Metals therein – Plaintiff suffered brain injury which manifested

13   as ASD and ADHD and related sequalae.

14          143.    Based on prevailing scientific evidence, exposure to the Toxic Heavy Metals at

15   the levels contained in Defendants’ Baby Foods can cause brain injury which can manifest as

16   the neurodevelopmental disorders ASD and ADHD and related sequalae in humans.

17          144.    Had any Defendant warned Plaintiff’s parents that Defendants’ Baby Foods

18   could lead to exposure to Toxic Heavy Metals or, in turn, brain injury, Plaintiff would not have

19   consumed the Baby Foods.

20          145.    Plaintiff alleges that as a direct and proximate result of Plaintiff’s consumption
21   of Baby Foods supplied and distributed by Defendants, Plaintiff suffered significant harm,

22   conscious pain and suffering, physical injury and bodily impairment including, but not limited

23   to brain injury which manifested as ASD and ADHD and related sequelae.

24                                           CAUSES OF ACTION

25             COUNT I: STRICT PRODUCTS LIABILITY – FAILURE TO WARN

26          146.    Plaintiff incorporates by reference each allegation set forth in preceding
27   paragraphs as if fully stated herein.

28          147.    At all relevant times, Defendants engaged in the business of researching, testing,
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 1   developing, designing, manufacturing, labeling, marketing, selling, inspecting, distributing, and

 2   promoting baby foods, which are defective and unreasonably dangerous to consumers,

 3   including Plaintiff, because they do not contain adequate warnings or instructions concerning

 4   the dangerous characteristics of baby foods in the form of the presence of Toxic Heavy Metals.

 5   These actions were under the ultimate control and supervision of Defendants. At all relevant

 6   times, Defendants registered, researched, manufactured, distributed, marketed, and sold baby

 7   foods and aimed at a consumer market.

 8          148.    Defendants researched, tested, developed, designed, manufactured, labeled,

 9   marketed, sold, inspected, distributed, and promoted, and otherwise released into the stream of

10   commerce their Contaminated Baby Foods, and in the course of same, directly advertised or

11   marketed the products to consumers and end users, including Plaintiff, and therefore had a duty

12   to warn about the presence of and risks associated with exposure to Toxic Heavy Metals from

13   the consumption of Contaminated Baby Foods.

14          149.    At all relevant times, Defendants had a duty to properly test, develop, design,

15   manufacture, inspect, package, label, market, promote, sell, and distribute, maintain, supply,

16   provide proper warnings, and take such steps as necessary to ensure their Contaminated Baby

17   Foods did not cause users and consumers to suffer from unreasonable and dangerous risks.

18   Defendants had a continuing duty to warn Plaintiff of dangers associated with exposure to

19   Toxic Heavy Metals from consumption of the Contaminated Baby Foods. Defendants, as a

20   manufacturer, seller, or distributor of food, are held to the knowledge of an expert in the field.
21          150.    At the time of manufacture, Defendants could have provided the warnings or

22   instructions regarding the full and complete risks of exposure to Toxic Heavy Metals in the

23   Contaminated Baby Foods because they knew or should have known of the unreasonable risks

24   of harm associated with the use of and/or exposure to such toxins.

25          151.    At all relevant times, Defendants failed and deliberately refused to investigate,

26   study, test, or promote the safety or to minimize the dangers to users and consumers of their
27   product and to those who would foreseeably use or be harmed by exposure to the Toxic Heavy

28   Metals in Defendants’ Baby Foods.
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 1          152.    Even though Defendants knew or should have known that the presence of Toxic

 2   Heavy Metals in Contaminated Baby Foods posed a risk of harm, they failed to exercise

 3   reasonable care to warn of the dangerous risks associated with use and exposure to the toxins in

 4   the products. The neurotoxic characteristic of Toxic Heavy Metals contained in Defendants’

 5   Contaminated Baby Foods, as described above, were known to Defendants, or scientifically

 6   knowable to Defendants through appropriate research and testing by known methods, at the

 7   time they distributed, supplied, or sold the products, and were not known to end users and

 8   consumers, such as Plaintiff. The product warnings for Contaminated Baby Foods in effect

 9   during the time period Plaintiff consumed those foods were inadequate, both substantively and

10   graphically, to alert consumers to the presence of and health risks associated with exposure to

11   the Toxic Heavy Metals from Contaminated Baby Food consumption.

12          153.    At all relevant times, Defendants’ Contaminated Baby Foods reached the

13   intended consumers, handlers, and users or other persons coming into contact with these

14   products, including Plaintiff, without substantial change in their condition as manufactured,

15   sold, distributed, labeled, and marketed by Defendants.

16          154.    Plaintiff was exposed to the Toxic Heavy Metals in Defendants’ Contaminated

17   Baby Foods without knowledge of the potential for such exposure to Toxic Heavy Metals from

18   consumption of the products and the dangerous characteristics of the toxins.

19          155.    At all relevant times, Plaintiff was exposed to the Toxic Heavy Metals in the

20   Defendants’ Contaminated Baby Foods while consuming the foods for their intended or
21   reasonably foreseeable purposes, without knowledge of their dangerous characteristics.

22          156.    Plaintiff could not have reasonably discovered the defects and risks associated

23   with exposure to the Toxic Heavy Metals in the Contaminated Baby Foods prior to or at the

24   time of Plaintiff consuming those foods. Plaintiff relied upon the skill, superior knowledge, and

25   judgment of Defendants to know about and disclose serious health risks associated with

26   exposure to the toxins in Defendants’ products.
27          157.    The information that Defendants did provide or communicate failed to contain

28   relevant warnings, hazards, and precautions that would have enabled consumers such as
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 1   Plaintiffs to avoid consuming the products and, in turn, exposure to the Toxic Heavy Metals.

 2   Instead, Defendants disseminated information that was inaccurate, false, and misleading, and

 3   which failed to communicate accurately or adequately the comparative severity, duration, and

 4   extent of the risk of injuries with use of and/or exposure to the Toxic Heavy Metals in the

 5   Contaminated Baby Foods; continued to aggressively promote the safety of their products, even

 6   after they knew or should have known of the unreasonable risks from use or exposure; and

 7   concealed, downplayed, or otherwise suppressed, through aggressive marketing and promotion,

 8   any information or research about the risks and dangers of exposure to Toxic Heavy Metals

 9   from consumption of Contaminated Baby Foods.

10          158.    This alleged failure to warn is not limited to the information contained on

11   Contaminated Baby Foods labeling. The Defendants were able, in accord with federal law, to

12   comply with relevant state law by disclosing the known risks associated with exposure to Heavy

13   Metals in Contaminated Baby Foods through other non-labeling mediums, i.e., promotion,

14   advertisements, public service announcements, and/or public information sources. But the

15   Defendants did not disclose these known risks through any medium. The ability to provide such

16   warnings is not prohibited by any federal law.

17          159.    Furthermore, Defendants possess a First Amendment Right to make truthful

18   statements about the products they sell, and no law could lawfully restrict that constitutional

19   right. This included making statements about the presence of and risks associated with Toxic

20   Heavy Metals in Contaminated Baby Foods.
21          160.    Had Defendants provided adequate warnings and instructions and properly

22   disclosed and disseminated the risks associated with exposure to the toxins in their

23   Contaminated Baby Foods, Plaintiffs could have avoided the risk of developing injuries and

24   could have obtained or used alternative products. However, as a result of Defendants’

25   concealment of the dangers posed by the Toxic Heavy Metals in their Contaminated Baby

26   Foods, Plaintiff could not have averted their exposures.
27          161.    Defendants’ conduct, as described above, was reckless. Defendants risked the

28   lives of babies and children, including Plaintiff, with knowledge of the safety problems
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 1   associated with Contaminated Baby Foods, and suppressed this knowledge from the general

 2   public. Defendants made conscious decisions not to warn or inform the unsuspecting public.

 3          162.    The Defendants’ lack of adequate warnings and instructions accompanying their

 4   Contaminated Baby Foods caused Plaintiff’s injuries.

 5          163.    As a direct and proximate result of the Defendants’ failure to provide an

 6   adequate warning of the risks of exposure to the Toxic Heavy Metals in their Contaminated

 7   Baby Foods, Plaintiff has been injured, sustained severe and permanent pain, suffering,

 8   disability, impairment, loss of enjoyment of life, economic loss and damages including, but not

 9   limited to past and future medical expenses, lost income, and other damages.

10          164.    WHEREFORE, Plaintiff respectfully requests this Court enter judgment in

11   Plaintiff’s favor for damages, together with interest, costs herein incurred, attorneys’ fees and

12   all such other and further relief as this Court deems just and proper.

13        COUNT II: STRICT PRODUCTS LIABILITY – MANUFACTURING DEFECT

14          165.    Plaintiff incorporates by reference each allegation set forth in preceding

15   paragraphs as if fully stated herein.

16          166.    At all times herein mentioned, Defendants designed, manufactured, tested,

17   marketed, sold, handled, and distributed the Contaminated Baby Foods consumed by Plaintiff.

18          167.    At all relevant times, the Contaminated Baby Foods consumed by Plaintiff were

19   expected to and did reach Plaintiff without a substantial change in their condition as

20   manufactured, handled, distributed, and sold by Defendants.
21          168.    At all relevant times, the Contaminated Baby Foods consumed by Plaintiff were

22   used in a manner that was foreseeable and intended by Defendants.

23          169.    The Contaminated Baby Foods consumed by Plaintiff were not reasonably safe

24   for their intended use and were defective with respect to their manufacture, as described herein,

25   in that Defendants deviated materially from their design and manufacturing specifications

26   and/or such design and manufacture posed an unreasonable risk of harm to Plaintiffs. 1 Baby
27   1
      If, through discovery and further litigation, it is discovered that Defendants’ baby food
     products contained detectable levels of Toxic Heavy Metals by design, then Plaintiff will
28   pursue a design defect claim (Count III) in the alternative.
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 1   food should not, by design, contain any detectable levels of Toxic Heavy Metals in them. Thus,

 2   Defendants’ Contaminated Baby Foods contain manufacturing defects.

 3          170.    The Defendants’ Contaminated Baby Foods contained Toxic Heavy Metals

 4   because, while in the control and possession of Defendants, they manufactured ingredients and

 5   used manufacturing processes that result in the finished product being contaminated with Toxic

 6   Heavy Metals. Had Defendants properly manufactured (directly or through co-manufacturers)

 7   the baby foods, they would not have contained detectable levels of Toxic Heavy Metals in them

 8   and, thus, would not have contained a manufacturing defect.

 9          171.    Nothing under federal law limited or restricted Defendants from taking action to

10   reduce or eliminate the Toxic Heavy Metals from being present in their baby foods.

11          172.     This manufacturing defect caused Plaintiff to be exposed to Toxic Heavy Metals

12   through ingestion of the Contaminated Baby Foods which, in turn, caused neurodevelopmental

13   harm that manifested as ASD and ADHD.

14          173.    The exposure to the Toxic Heavy Metals in the Contaminated Baby Foods

15   creates risks to the health and safety of babies that are far more significant than the risks posed

16   by non- Contaminated Baby Food products, and which far outweigh the utility of the

17   Contaminated Baby Foods products because of Defendants’ manufacturing defects.

18          174.    Defendants have intentionally and recklessly manufactured the Contaminated

19   Baby Foods with wanton and willful disregard for the rights and health of Plaintiff, and with

20   malice, placing their economic interests above the health and safety of Plaintiff.
21          175.    As a direct and proximate result of the Defendants’ defective manufacture of the

22   Contaminated Baby Foods, Plaintiff has been injured, sustained severe and permanent pain,

23   suffering, disability, impairment, loss of enjoyment of life, economic loss and damages

24   including, but not limited to medical expenses, lost income, and other damages.

25          176.    WHEREFORE, Plaintiff respectfully requests this Court enter judgment in

26   Plaintiff’s favor for damages, together with interest, costs herein incurred, attorneys’ fees and
27   all such other and further relief as this Court deems just and proper.

28              COUNT III: STRICT PRODUCTS LIABILITY – DESIGN DEFECT
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 1          177.    Plaintiff incorporates by reference each allegation set forth in preceding

 2   paragraphs as if fully stated herein.

 3          178.    At all times herein mentioned, Defendants designed, manufactured, tested,

 4   marketed, sold, handled, and distributed the Contaminated Baby Foods consumed by Plaintiff.

 5   These actions were under the ultimate control and supervision of Defendants.

 6          179.     At all relevant times, Defendants’ Baby Food products were designed and

 7   labeled in an unsafe, defective, and inherently dangerous manner that was dangerous for use or

 8   consumption by infants and babies, including Plaintiff.

 9          180.    Defendants’ Contaminated Baby Food products as researched, tested, developed,

10   designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

11   Defendants were defective in design and formulation in that, when they were placed into the

12   stream of commerce, they were unreasonably dangerous and dangerous to an extent beyond that

13   which an ordinary consumer would contemplate.

14          181.    Defendants’ Contaminated Baby Food products, as researched, tested,

15   developed, designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed

16   by Defendants were defective in design and formulation in that, when they left the hands of

17   Defendants, the foreseeable risks exceeded the alleged benefits associated with their design and

18   formulation.

19          182.    At all relevant times, the Contaminated Baby Food products consumed by

20   Plaintiff were expected to and did reach Plaintiff without a substantial change in its condition as
21   designed, manufactured, handled, distributed, and sold by Defendants.

22          183.    At all relevant times, Defendants knew or had reason to know that their

23   Contaminated Baby Food products were defective and were inherently dangerous and unsafe

24   when used in the manner instructed and provided by Defendants.

25          184.    Therefore, at all relevant times, Defendants’ Baby Food products, as researched,

26   tested, developed, designed, registered, licensed, manufactured, packaged, labeled, distributed,
27   sold and marketed by Defendants were defective in design and formulation, in one or more of

28   the following ways:
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 1                      1.     When placed in the stream of commerce, Defendants’ Contaminated

 2   Baby Food products were unreasonably dangerous in that they contained Toxic Heavy Metals

 3   that posed a risk of causing interference with neurodevelopment in babies that manifests as the

 4   neurodevelopmental disorders ASD, ADHD and related sequalae when used in a reasonably

 5   anticipated manner;

 6                      2.     When placed in the stream of commerce, Defendants’ designed

 7   Contaminated Baby Food products to contain unreasonably dangerous design defects and were

 8   not reasonably safe when used in a reasonably anticipated or intended manner;

 9                      3.     Defendants, by design, did not sufficiently test, investigate, or study their

10   Contaminated Baby Food products;

11                      4.     Exposure to the Toxic Heavy Metals in Defendants’ Contaminated Baby

12   Food products present a risk of harmful effects that outweigh any potential utility stemming

13   from their use;

14                      5.     Defendants, by design, did not conduct adequate post-marketing

15   surveillance of their Contaminated Baby Food products which would have alerted the public to

16   risks; and

17                      6.     Defendants could have employed safer alternative designs and

18   formulations for Contaminated Baby Foods, such as ensuring the baby food did not have any

19   detectable level of Toxic Heavy Metals.

20           185.       Plaintiff consumed Defendants’ Contaminated Baby Food products in an
21   intended or reasonably foreseeable manner without knowledge of their dangerous

22   characteristics.

23           186.       Defendants’ Contaminated Baby Food products were and are more dangerous

24   than alternative products, and Defendants could have designed their Contaminated Baby Food

25   products to avoid harm to children. Indeed, at the time Defendants designed the Contaminated

26   Baby Food products, the state of the industry’s scientific knowledge was such that a less risky
27   design or formulation was attainable.

28           187.       At the time the Contaminated Baby Food products left Defendants’ control, there
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 1   was a practical, technically feasible, and safer alternative design that would have prevented the

 2   harm without substantially impairing the reasonably anticipated or intended function of

 3   Defendants’ Contaminated Baby Foods.

 4           188.    Defendants intentionally and recklessly defectively designed the Contaminated

 5   Baby Foods with wanton and willful disregard for the rights and health of Plaintiff, and with

 6   malice, placing their economic interests above the health and safety of Plaintiff.

 7           189.    The design defects in Defendants’ Contaminated Baby Foods were substantial

 8   factors in causing Plaintiff’s injuries.

 9           190.    As a direct and proximate result of the Defendants’ defective design of the

10   Contaminated Baby Foods, Plaintiff has been injured, sustained severe and permanent pain,

11   suffering, disability, impairment, loss of enjoyment of life, economic loss and damages

12   including, but not limited to medical expenses, lost income, and other damages.

13           191.    WHEREFORE, Plaintiff respectfully requests this Court enter judgment in

14   Plaintiff’s favor for damages, together with interest, costs herein incurred, attorneys’ fees and

15   all such other and further relief as this Court deems just and proper.

16                        COUNT IV: NEGLIGENCE – FAILURE TO WARN

17           192.    Plaintiff incorporates by reference each allegation set forth in preceding

18   paragraphs as if fully stated herein.

19           193.    At all relevant times, Defendants engaged in the business of testing, developing,

20   designing, manufacturing, marketing, selling, distributing, and promoting baby foods.
21   Defendants knew, or, by the exercise of reasonable care, should have known that their

22   Contaminated Baby Foods are not accompanied with adequate warnings concerning the

23   dangerous characteristics of exposure to Toxic Heavy Metals from consumption. These actions

24   were under the ultimate control and supervision of Defendants.

25           194.    Defendants researched, developed, designed, tested, manufactured, inspected,

26   labeled, distributed, marketed, promoted, sold, and otherwise released into the stream of
27   commerce their Contaminated Baby Foods, and in the course of same, directly advertised or

28   marketed the products to consumers and end users, including Plaintiff, and therefore had a duty
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 1   to warn of the risks associated with the presence of and exposure to Toxic Heavy Metals from

 2   consumption of Contaminated Baby Foods.

 3           195.   At all relevant times, Defendants had a duty to properly test, develop, design,

 4   manufacture, inspect, package, label, market, promote, sell, distribute, maintain, supply, provide

 5   proper warnings, and take such steps as necessary to ensure their Contaminated Baby Foods did

 6   not cause users and consumers to suffer from unreasonable and dangerous risks. Defendants

 7   had a continuing duty to warn Plaintiff of dangers associated with the presence of and exposure

 8   to Toxic Heavy Metals from consumption of Contaminated Baby Foods. Defendants, as a

 9   manufacturer, seller, or distributor of food products, are held to the knowledge of an expert in

10   the field.

11           196.   At the time of manufacture, Defendants could have provided warnings regarding

12   the presence of and risks of exposure to Toxic Heavy Metals from consumption of

13   Contaminated Baby Foods because they knew or should have known exposure to Toxic Heavy

14   Metals from consumption of Contaminated Baby Foods was dangerous, harmful and injurious

15   when the Contaminated Baby Foods were consumed by Plaintiff in a reasonably foreseeable

16   manner.

17           197.   At all relevant times, Defendants failed and deliberately refused to investigate,

18   study, test, or promote the safety or to minimize the dangers to users and consumers of their

19   products and to those who would foreseeably use or be harmed by Defendants’ Contaminated

20   Baby Foods.
21           198.   Defendants knew or should have known that exposure to Toxic Heavy Metals

22   from consumption of Contaminated Baby Foods posed a risk of harm, but failed to exercise

23   reasonable care to warn of the dangerous risks associated with use and exposure to the toxins in

24   the products. The dangerous propensities of exposure to Toxic Heavy Metals from consumption

25   of the Contaminated Baby Foods, as described above, were known to Defendants, or

26   scientifically knowable to Defendants through appropriate research and testing by known
27   methods, at the time they distributed, supplied, or sold the products, and were not known to end

28   users and consumers, such as Plaintiff.
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 1            199.   At all relevant times, Plaintiff was exposed to Toxic Heavy Metals through

 2   consumption of the Contaminated Baby Foods while using the products for their intended or

 3   reasonably foreseeable purposes, without knowledge of their dangerous characteristics.

 4            200.   Defendants knew or should have known that the non-extant warnings

 5   disseminated with their Contaminated Baby Foods were inadequate, failed to communicate

 6   adequate information on the presence of and dangers of exposure to toxins contained therein,

 7   and failed to communicate warnings and instructions that were appropriate and adequate to

 8   render the products safe for their ordinary, intended and reasonably foreseeable uses.

 9            201.   The information that Defendants did provide or communicate failed to contain

10   relevant warnings, hazards, and precautions that would have enabled consumers such as

11   Plaintiffs to avoid using the product and, in turn, prevented exposure to the Toxic Heavy Metals

12   contained therein. Instead, Defendants disseminated information that was inaccurate, false, and

13   misleading, and which failed to communicate accurately or adequately the comparative severity,

14   duration, and extent of the risk of injuries with use of and/or exposure to the Toxic Heavy

15   Metals in the Contaminated Baby Foods; continued to aggressively promote the efficacy of their

16   products, even after they knew or should have known of the unreasonable risks from use or

17   exposure to the toxins contained therein; and concealed, downplayed, or otherwise suppressed,

18   through aggressive marketing and promotion, any information or research about the risks and

19   dangers of exposure to Toxic Heavy Metals from consumption of the Contaminated Baby

20   Foods.
21            202.   A reasonable company under the same or similar circumstance would have

22   warned and instructed of the dangers of exposure to Toxic Heavy Metals from consumption of

23   Contaminated Baby Foods.

24            203.   This alleged failure to warn is not limited to the information contained on the

25   labeling of Defendants’ Contaminated Baby Foods. Defendants were able, in accord with

26   federal law, to comply with relevant state law by disclosing the known risks associated with
27   exposure to Toxic Heavy Metals from consumption of Contaminated Baby Foods through other

28   non-labeling mediums, i.e., promotion, advertisements, public service announcements, and/or
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 1   public information sources. But the Defendants did not disclose these known risks through any

 2   medium.

 3             204.   Furthermore, Defendants possess a First Amendment Right to make truthful

 4   statements about the products they sell, and no law could lawfully restrict that constitutional

 5   right.

 6             205.   Had Defendants provided adequate warnings and instructions and properly

 7   disclosed and disseminated the risks associated with the presence of and exposure to Toxic

 8   Heavy Metals in the Contaminated Baby Foods, Plaintiff could have avoided the risk of

 9   developing injuries and could have obtained or used alternative products. However, as a result

10   of Defendants’ concealment of the dangers posed by their Contaminated Baby Foods, Plaintiff

11   could not have averted their injuries.

12             206.   Defendants’ conduct, as described above, was reckless. Defendants risked the

13   lives of consumers and users of their products, including Plaintiff, with knowledge of the safety

14   problems associated with Contaminated Baby Foods, and suppressed this knowledge from the

15   general public. Defendants made conscious decisions not to warn or inform the unsuspecting

16   public.

17             207.   The Defendants’ lack of adequate warnings and instructions accompanying their

18   Contaminated Baby Foods were a substantial factor in causing Plaintiff’s injuries.

19             208.   As a direct and proximate result of the Defendants’ failure to provide an

20   adequate warning of the risks of exposure to Toxic Heavy Metals from consumption of
21   Contaminated Baby Foods, Plaintiff has been injured, sustained severe and permanent pain,

22   suffering, disability, impairment, loss of enjoyment of life, economic loss and damages

23   including, but not limited to past and future medical expenses, lost income, and other damages.

24             209.   WHEREFORE, Plaintiff respectfully requests this Court enter judgment in

25   Plaintiff’s favor for damages, together with interest, costs herein incurred, attorneys’ fees and

26   all such other and further relief as this Court deems just and proper.
27                         COUNT V: NEGLIGENCE – MANUFACTURING

28             210.   Plaintiff incorporates by reference each allegation set forth in preceding
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 1   paragraphs as if fully stated herein.

 2          211.      At all relevant times, the Defendants manufactured, tested, marketed, sold, and

 3   distributed the Contaminated Baby Foods that Plaintiff consumed.

 4          212.      The Defendants had a duty to exercise reasonable care, in the manufacturing,

 5   testing, marketing, sale, and distribution of baby foods.

 6          213.      The Defendants knew or, by the exercise of reasonable care, should have known,

 7   that exposure to Toxic Heavy Metals from consumption of Contaminated Baby Foods rendered

 8   the foods carelessly manufactured, dangerous, harmful and injurious when used by Plaintiff in a

 9   reasonably foreseeable manner.

10          214.      The Defendants knew or, by the exercise of reasonable care, should have known,

11   ordinary consumers such as Plaintiff would not have realized the potential risks and dangers of

12   exposure to Toxic Heavy Metals from consumption of Contaminated Baby Foods.

13          215.      Without limitation, examples of the manner in which Defendants breached their

14   duty to exercise reasonable care in manufacturing Contaminated Baby Foods, included:

15                    1.     Failure to adequately inspect/test the Contaminated Baby Foods, and

16   their ingredients, during and after the manufacturing process;

17                    2.     Failure to implement procedures that would reduce or eliminate Toxic

18   Heavy Metals in baby foods;

19                    3.     Failure to investigate suppliers and ingredient sources to reduce and

20   eliminate the risk of ingredients containing Toxic Heavy Metals; and
21                    4.     Failure to avoid using ingredients free from, or which contain far less,

22   Toxic Heavy Metals to manufacture baby food.

23          216.      A reasonable manufacturer under the same or similar circumstances would have

24   implemented appropriate manufacturing procedures to better ensure the quality and safety of

25   their product.

26          217.      Plaintiff was harmed directly and proximately by the Defendants’ failure to use
27   reasonable care in the manufacture of their Contaminated Baby Foods. Such harm includes

28   exposure to Toxic Heavy Metals, which can cause or contribute to interference with early
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 1   neurodevelopment which manifests as ASD, ADHD, and related sequalae.

 2             218.   Defendants’ improper manufacturing of Baby Foods was willful, wanton,

 3   malicious, and conducted with reckless disregard for the health and safety of users of the

 4   Contaminated Baby Foods, including Plaintiff.

 5             219.   The defects in Defendants’ Contaminated Baby Foods were substantial factors in

 6   causing Plaintiff’s injuries.

 7             220.   As a direct and proximate result of the Defendants’ improper manufacturing of

 8   Contaminated Baby Foods, Plaintiff has been injured, sustained severe and permanent pain,

 9   suffering, disability, impairment, loss of enjoyment of life, economic loss and damages

10   including, but not limited to past and future medical expenses, lost income, and other damages.

11             221.   WHEREFORE, Plaintiff respectfully requests this Court enter judgment in

12   Plaintiff’s favor for damages, together with interest, costs herein incurred, attorneys’ fees and

13   all such other and further relief as this Court deems just and proper.

14                         COUNT VI: NEGLIGENCE – PRODUCT DESIGN

15             222.   Plaintiff incorporates by reference each allegation set forth in preceding

16   paragraphs as if fully stated herein.

17             223.   Defendants knew or, by the exercise of reasonable care, should have known,

18   ordinary consumers such as Plaintiff would not have realized the potential risks and dangers of

19   Contaminated Baby Foods.

20             224.   The Defendants owed a duty to all reasonably foreseeable users to design a safe
21   product.

22             225.   The Defendants breached their duty by failing to use reasonable care in the

23   design of Contaminated Baby Foods because the products exposed babies to Toxic Heavy

24   Metals.

25             226.   The Defendants breached their duty by failing to use reasonable care in the

26   design of Contaminated Baby Foods by negligently designing the foods with ingredients and/or
27   components contaminated with Toxic Heavy Metals.

28             227.   The Defendants breached their duty by failing to use reasonable care in the
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 1   design of Contaminated Baby Foods by negligently designing and formulation, in one or more

 2   of the following ways:

 3                   1.        When placed in the stream of commerce, Defendants’ Contaminated

 4   Baby Foods were defective in design and formulation, and, consequently, dangerous to an

 5   extent beyond that which an ordinary consumer would contemplate;

 6                   2.        When placed in the stream of commerce, Defendants’ Contaminated

 7   Baby Foods were unreasonably dangerous in that they were hazardous and posed a risk of

 8   neurodevelopmental disorders and other serious illnesses when used in a reasonably anticipated

 9   manner;

10                   3.        When placed in the stream of commerce, Defendants’ Contaminated

11   Baby Foods contained unreasonably dangerous design defects and were not reasonably safe

12   when used in a reasonably anticipated or intended manner;

13                   4.        Defendants did not sufficiently test, investigate, or study their

14   Contaminated Baby Foods and, specifically, the content of Toxic Heavy Metals in the

15   ingredients used to manufacture the foods and/or the finished products;

16                   5.        Defendants did not sufficiently test, investigate, or study their

17   Contaminated Baby Foods and, specifically, the ability for those foods to expose babies to

18   Toxic Heavy Metals; and

19                   6.        Exposure to the Toxic Heavy Metals in Contaminated Baby Foods

20   presents a risk of harmful effects that outweigh any potential utility stemming from the use of
21   the products;

22           228.    Defendants knew or should have known at the time of marketing Contaminated

23   Baby Foods that exposure to Toxic Heavy Metals contained in the Baby Foods could result in

24   interference with early neurodevelopment that that manifests as ASD, ADHD and other severe

25   illnesses and injuries.

26           229.    Defendants, by design, did not conduct adequate post-marketing surveillance of
27   their Contaminated Baby Foods.

28           230.    Defendants could have employed safer alternative designs and formulations. For
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 1   example, the Defendants could have avoided use of certain ingredients contaminated with Toxic

 2   Heavy Metals, avoided using pre-mix vitamins contaminated with Toxic Heavy Metals, and/or

 3   sampled their ingredients from other sources.

 4            231.   The Defendants breached their duty by failing to use reasonable care by failing

 5   to use cost effective, reasonably feasible alternative designs. There was a practical, technically

 6   feasible, and safer alternative design that would have prevented the harm without substantially

 7   impairing the reasonably anticipated or intended function of Defendants’ Contaminated Baby

 8   Foods.

 9            232.   A reasonable company under the same or similar circumstances would have

10   designed a safer product.

11            233.   Plaintiff was harmed directly and proximately by the Defendants’ failure to use

12   reasonable care in the design of their Contaminated Baby Foods. Such harm includes exposure

13   to Toxic Heavy Metals, which can cause or contribute to interference with neurodevelopment

14   that manifests as ASD, ADHD, and related sequalae.

15            234.   Defendants’ defective design of Contaminated Baby Foods was willful, wanton,

16   malicious, and conducted with reckless disregard for the health and safety of consumers of the

17   Baby Foods, including Plaintiff.

18            235.   The defects in Defendants’ Contaminated Baby Foods were substantial factors in

19   causing Plaintiff’s injuries.

20            236.   As a direct and proximate result of the Defendants’ negligent design of the
21   Contaminated Baby Foods, Plaintiff has been injured, sustained severe and permanent pain,

22   suffering, disability, impairment, loss of enjoyment of life, economic loss and damages

23   including, but not limited to past and future medical expenses, lost income, and other damages.

24            237.   WHEREFORE, Plaintiff respectfully requests this Court enter judgment in

25   Plaintiff’s favor for damages, together with interest, costs herein incurred, attorneys’ fees and

26   all such other and further relief as this Court deems just and proper.
27                               COUNT VII: GENERAL NEGLIGENCE

28            238.   Plaintiff incorporates by reference each allegation set forth in preceding
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 1   paragraphs as if fully stated herein.

 2          239.    Plaintiff pleads claims for negligence under all theories that may be actionable

 3   under any applicable state laws.

 4          240.    Defendants owed Plaintiff a duty to act with reasonable care.

 5                  1.      Defendants owed a duty because they distributed and promoted their

 6   products as safe for children to consume.

 7                  2.      Defendants owed a duty because their conduct created a risk of harm to

 8   Plaintiffs and caused Plaintiff actual harm.

 9                  3.      Defendants owed a duty because the risk of harm to Plaintiff was

10   embedded in, and an inherent component of, their negligent business practices.

11                  4.      Defendants owed a duty because they designed, manufactured,

12   controlled, distributed, and sold their products to Plaintiff.

13          241.    Defendants breached their duty to Plaintiff.

14          242.    Defendants’ negligence includes, but is not limited to, their marketing,

15   designing, manufacturing, producing, supplying, inspecting, testing, selling and/or distributing

16   Contaminated Baby Foods in one or more of the following respects:

17                  1.      Failure to implement procedures that would reduce or eliminate Toxic

18   Heavy Metals in baby foods;

19                  2.      Failure to investigate suppliers and ingredient sources to reduce and

20   eliminate the risk of ingredients containing Toxic Heavy Metals; and
21                  3.      Failure to avoid using ingredients free from, or which contain far less,

22   Toxic Heavy Metals to manufacture baby food.

23                  4.      When placed in the stream of commerce, Defendants’ Contaminated

24   Baby Foods were defective in design and formulation, and, consequently, dangerous to an

25   extent beyond that which an ordinary consumer would contemplate;

26                  5.      When placed in the stream of commerce, Defendants’ Contaminated
27   Baby Foods were unreasonably dangerous in that they were hazardous and posed a risk of

28   neurodevelopmental disorders and other serious illnesses when used in a reasonably anticipated
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 1   manner;

 2                   6.     When placed in the stream of commerce, Defendants’ Contaminated

 3   Baby Foods contained unreasonably dangerous design defects and were not reasonably safe

 4   when used in a reasonably anticipated or intended manner;

 5                   7.     Defendants, by design, did not conduct adequate post-marketing

 6   surveillance of their Contaminated Baby Food products which would have alerted the public to

 7   risks; and

 8                   8.     Defendants did not sufficiently test, investigate, or study their

 9   Contaminated Baby Foods and, specifically, the ability for those foods to expose babies to

10   Toxic Heavy Metals;

11                   9.     Defendants could have employed safer alternative designs and

12   formulations for Contaminated Baby Foods, such as ensuring the baby food did not have any

13   detectable level of Toxic Heavy Metal.

14                   10.    Defendants did not sufficiently test, investigate, or study their

15   Contaminated Baby Foods and, specifically, the content of Toxic Heavy Metals in the

16   ingredients used to manufacture the foods and/or the finished products; and

17                   11.    Exposure to the Toxic Heavy Metals in Contaminated Baby Foods

18   presents a risk of harmful effects that outweigh any potential utility stemming from the use of

19   the products;

20          243.     Defendants knew or should have known that their products contained detectable
21   levels of heavy metals that created an unreasonable risk of harm to children who consumed their

22   products.

23          244.     At all relevant times, the Defendants knew or should have known that the

24   Products were unreasonably dangerous and defective when put to their reasonably anticipated

25   use.

26          245.     As a proximate result of Defendants’ negligence, Plaintiff has been injured,
27   sustained severe and permanent pain, suffering, disability, impairment, loss of enjoyment of

28   life, economic loss, and damages including, but not limited to past and future medical expenses,
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 1   lost income, and other damages.

 2          246.    WHEREFORE, Plaintiff respectfully requests this Court enter judgment in

 3   Plaintiff’s favor for damages, together with interest, costs herein incurred, attorneys’ fees and

 4   all such other and further relief as this Court deems just and proper.

 5                                       JURY TRIAL DEMAND

 6          247.    Plaintiff demands a trial by jury on all the triable issues within this pleading.

 7                                       PRAYER FOR RELIEF

 8          248.    WHEREFORE, Plaintiff requests that the Court enter judgment in Plaintiff’s

 9   favor and against the Defendants for:

10                  a. actual or compensatory damages in such amount to be determined at trial and

11                      as provided by applicable law;

12                  b. exemplary and punitive damages sufficient to punish and deter the

13                      Defendants and others from future wrongful practices;

14                  c. pre-judgment and post-judgment interest;

15                  d. costs including reasonable attorneys’ fees, court costs, and other litigation

16                      expenses; and

17                  e. any other relief the Court may deem just and proper.

18                                                 Respectfully submitted,
19   Dated: January 31, 2025                       WISNER BAUM, LLP

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